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                                                                          4
                                                                          5                        IN THE UNITED STATES DISTRICT COURT
                                                                          6                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)               )    MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                        )
                                                                                                                          )    Master Case
                                                                          9                                               )    No. CV-07-5944-SC
                                                                                                                          )
                                                                         10   This Order Relates To:                      )    Individual Case
                               For the Northern District of California
United States District Court




                                                                                                                          )    No. CV-14-2058-SC
                                                                         11                                               )
                                                                              ALL DIRECT PURCHASER ACTIONS                )    ORDER IN RE CLASS
                                                                         12                                               )    CERTIFICATION WITH RESPECT
                                                                                                                          )    TO THE THOMSON AND
                                                                         13                                               )    MITSUBISHI DEFENDANTS
                                                                                                                          )
                                                                         14                                               )
                                                                                                                          )
                                                                         15                                               )
                                                                                                                          )
                                                                         16                                               )
                                                                         17
                                                                         18
                                                                         19   I.      INTRODUCTION
                                                                         20           Now before the Court is a motion by the Direct Purchaser
                                                                         21   Plaintiffs ("DPPs") for Class Certification with respect to the
                                                                         22   Defendants Thomson and Mitsubishi.1             Thomson has settled and
                                                                         23   1
                                                                                As used herein, "Thomson" refers to: Technicolor SA (f/k/a
                                                                         24   Thomson SA) ("Thomson SA") and Technicolor USA, Inc. (f/k/a Thomson
                                                                              Consumer Electronics, Inc.) ("Thomson Consumer"), and Technologies
                                                                         25   Displays Americas LLC (f/k/a Thomson Displays Americas LLC)
                                                                              ("TDA"). Allied with Thomson is Defendant Videocon Industries,
                                                                         26   Ltd. ("Videocon"). As used herein, "Mitsubishi" refers to:
                                                                              Mitsubishi Electric Corporation, Mitsubishi Electric US, Inc.
                                                                         27   (f/k/a Mitsubishi Electric & Electronics USA, Inc.), and Mitsubishi
                                                                              Electric Visual Solutions America, Inc. (f/k/a Mitsubishi Digital
                                                                         28   Electronics America, Inc.). Thomson, Videocon, and Mitsubishi are
                                                                              referred to collectively herein as "Defendants." The other co-
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                                                                          1   stipulated to class certification, pending hearing.2          Accordingly,
                                                                          2   Mitsubishi is the only remaining Defendant.         Mitsubishi opposes the
                                                                          3   motion.
                                                                          4         The motion has been fully briefed,3 and the matter is
                                                                          5   appropriate for decision without oral argument per Civil Local Rule
                                                                          6   ///
                                                                          7   ///
                                                                          8
                                                                              conspirators, with most of whom the Direct Purchaser Plaintiffs
                                                                          9   ("DPPs") have already settled, are: (a) Chunghwa Picture Tubes,
                                                                              Ltd. and Chunghwa Picture Tubes (Malaysia) Sdn Bhd. (collectively
                                                                         10   "Chunghwa"); (b) Daewoo International Corporation, Daewoo
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                                                                              Electronics Corporation f/k/a Daewoo Electronics Company, Ltd.,
                                                                         11   Orion Electric Company ("Orion"), and Daewoo-Orion SocieteAnonyme
                                                                              (collectively "Daewoo/Orion"); (c) Hitachi Ltd.; Hitachi Displays,
                                                                         12   Ltd., Hitachi America, Ltd., Hitachi Asia, Ltd., Hitachi Electronic
                                                                         13   Devices (USA), and Shenzhen SEG Hitachi Color Display Devices, Ltd.
                                                                              (collectively "Hitachi"); (d) Irico Group Corporation, Irico Group
                                                                         14   Electronics Co., Ltd., and Irico Display Devices Co., Ltd.
                                                                              (collectively "Irico"); (e) LG Electronics, Inc. ("LGE"), LG
                                                                         15   Electronics USA, Inc., and LG Electronics Taiwan Taipei Co., Ltd.
                                                                              (collectively "LG"); (f) LP Displays International, Ltd. ("LPD");
                                                                         16   (g) Panasonic Corporation, f/k/a Matsushita Electric Industrial
                                                                              Co., Ltd., Matsushita Electronic Corporation (Malaysia) Sdn Bhd.,
                                                                         17   and Panasonic Corporation of North America (collectively
                                                                              "Panasonic"); (h) Koninklijke Philips Electronics N.V., Philips
                                                                         18   Electronics Industries Ltd., Philips Electronics North America,
                                                                              Philips Consumer Electronics Co., Philips Electronics Industries
                                                                         19   (Taiwan), Ltd., and Philips dba Amazonia Industria Electronica
                                                                              Ltda. (collectively "Philips"); (i) Samsung Electronics America,
                                                                         20   Inc., Samsung SDI (Malaysia) Sdn Bhd., Samsung SDI Co., Ltd. f/k/a
                                                                              Samsung Display Device Company ("Samsung SDI" or "SDI"), Samsung
                                                                         21   SDI Mexico S.A. de C.V., Samsung SDI Brasil Ltda., Shenzhen Samsung
                                                                              SDI Co. Ltd., and Tianjin Samsung SDI Co., Ltd. (collectively
                                                                         22   "Samsung"); (j) Thai CRT Company, Ltd.; (k) Toshiba Corporation,
                                                                              Toshiba America, Inc., Toshiba America Consumer Products LLC,
                                                                         23   Toshiba America Consumer Products, Inc., Toshiba America Electronic
                                                                              Components, Inc., Toshiba America Information Systems, Inc., and
                                                                         24   Toshiba Display Devices (Thailand) Company, Ltd. (collectively
                                                                              "Toshiba"); (l) MT Picture Display Co., Ltd., f/k/a Matsushita
                                                                         25   Toshiba Picture Display Co., Ltd., ("MTPD"); and (m) Bejing-
                                                                              Matsushita Color CRT Company, Ltd. ("BMCC").
                                                                              2
                                                                         26     See ECF No. 3562. The Court has granted preliminary approval of
                                                                              DPP's class action with the Thomson and TDA Defendants, pending a
                                                                         27   fairness hearing. Order of the Court dated June 12, 2015, ECF No.
                                                                              3872.
                                                                              3
                                                                         28     ECF Nos. 2969 ("Mot."), 3109 ("DPP Ex."), 3709 ("Opp'n"), 3710
                                                                              ("Def. Ex.") and 3820("Reply").


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                                                                          1   7-1(b).      As explained below, the Court now GRANTS DPP's motion for
                                                                          2   class certification with respect to Mitsubishi.4
                                                                          3 II.       BACKGROUND
                                                                          4           The parties are familiar with this case's facts.5          Even so, a
                                                                          5   brief summary follows.
                                                                          6           This MDL concerns allegations of a worldwide conspiracy to fix
                                                                          7   prices in the Cathode Ray Tube ("CRT") market.            CRTs are discrete
                                                                          8   products that can only be used as components in finished products
                                                                          9   ("CRT Products" or "finished products").           CRTs are therefore
                                                                         10   produced as Color Picture Tubes ("CPTs"), often used in
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                                                                         11   televisions, and Color Display Tubes ("CDTs"), often used for
                                                                         12   computer monitors or small screen devices.            The Named DPPs,6 the
                                                                         13   proposed class representatives, purchased primarily finished
                                                                         14   products7 containing CRTs, including CPTs and CDTs.
                                                                         15   4
                                                                                This order is in accordance with several earlier orders in this
                                                                         16   case. See, e.g., Order of the Court dated November 29, 2012, ECF
                                                                              No. 1470, available at In re Cathode Ray Tube (CRT) Antitrust
                                                                         17   Litig., 911 F. Supp. 2d 857, 869 (N.D. Cal. 2012); Order of the
                                                                              Court dated September 24, ECF No. 1950, available at In re Cathode
                                                                         18   Ray Tube (CRT) Antitrust Litig., No. C-07-5944-SC, 2013 U.S. Dist.
                                                                              LEXIS 137946, 2013 WL 5391159 (N.D. Cal. Sept. 24, 2013) (adopting
                                                                         19   ECF No. 1743, available at In re Cathode Ray Tube (CRT) Antitrust
                                                                              Litig., No. JAMS REF. 1100054618, 2013 U.S. Dist. LEXIS 137944,
                                                                         20   2013 WL 5428139 (N.D. Cal. June 20, 2013)).
                                                                              5
                                                                                The Court further notes that many of the facts are well
                                                                         21   summarized by the Court's previous rulings on summary judgment and
                                                                              the discussion of the Interim Special Master ("ISM") as related to
                                                                         22   the Indirect Purchaser Plaintiffs ("IPPs"). See Order of the Court
                                                                              dated November 29, 2012, ECF No. 1470; Order of the Court dated
                                                                         23   September 24, 2013, ECF No. 1950; Report and Recommendation
                                                                              Regarding IPP's Motion for Class Certification, dated June 20,
                                                                         24   2013, ECF No. 1742.
                                                                              6
                                                                                Arch Electronics, Inc.; Crago, d/b/a Dash Computers, Inc.;
                                                                         25   Meijer, Inc. and Meijer Distribution, Inc.; Nathan Muchnick, Inc.;
                                                                              Princeton Display Technologies, Inc.; Radio & TV Equipment, Inc.;
                                                                         26   Studio Spectrum, Inc.; and Wettstein and Sons, Inc., d/b/a
                                                                              Wettstein’s. Each has provided records of their purchase or
                                                                         27   described them in evidence provided. See Reply at 8-9.
                                                                              7
                                                                                The Court has previously considered and ruled upon a Motion for
                                                                         28   Summary Judgment, holding that DPPs could proceed and recover as a
                                                                              matter of law, even though they had apparently only purchased


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                                                                          1        DPPs now seek to certify a class of DPPs alleging harm,
                                                                          2   supported by the expert testimony of Dr. Jeffrey J. Leitzinger.8
                                                                          3        A.     The Market
                                                                          4        An overview of the CRT market is helpful to understand DPPs'
                                                                          5   theory of the case.      During the "Class Period," from March 1, 1995
                                                                          6   to November 25, 2007, CRTs were the dominant components of
                                                                          7   televisions and computer monitors.9       CRTs are very expensive and
                                                                          8   therefore are alleged to represent large portions of the prices of
                                                                          9   the finished products that contain them.        CRTs are not uniform:
                                                                         10   they differ in size, deflection yoke frequencies, resolutions,
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                                                                         11   shadow masks, phosphors, glass bulbs, electron guns, size, and
                                                                         12   assembly.   The two types of CRTs at issue in this case -- CPTs and
                                                                         13   CDTs -- are also components of different finished products
                                                                         14   (televisions and computer monitors, respectively).          See Opp'n at 2-
                                                                         15   3.
                                                                         16        DPPs allege Defendants and their co-conspirators formed an
                                                                         17   international price-fixing cartel to restrict the prices of CRTs.
                                                                         18   DPPs maintain that Defendants carried out their conspiracy through
                                                                         19   frequent group and bilateral meetings over the course of twelve
                                                                         20
                                                                         21   finished products, on the theory of the ownership-and-control
                                                                              exception to Royal Printing Co. v. Kimberly–Clark Corp., 621 F.2d
                                                                         22   323, 326 (9th Cir. 1980). C.f. Illinois Brick Co. v. Illinois, 431
                                                                              U.S. 720, 724 (1977). See the Court's Order, dated 29 November
                                                                         23   2012, ECF No. 1470. The Court has before and now again recognizes
                                                                              that this technically makes most of the plaintiffs at bar "indirect
                                                                         24   purchasers" despite the label "DPP." Some DPPs are alleged to have
                                                                              purchased directly and thus were not part of the earlier motion for
                                                                         25   summary judgment. See Reply at 10, n. 13. Even so, the Court will
                                                                              continue to designate all the plaintiffs as DPPs to differentiate
                                                                         26   them from the already certified class of IPPs.
                                                                              8
                                                                                Dr. Leitzinger's declaration in support of this motion, filed
                                                                         27   with the Court under seal, is summarized infra in relation to the
                                                                              Court's analysis of predominance under Rule 23(b)(3).
                                                                              9
                                                                         28     With the advent of Liquid Crystal Displays ("LCDs") and plasma
                                                                              displays, demand for CRTs dwindled.


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                                                                          1   years.      The bilateral meetings were specifically arranged to
                                                                          2   accommodate co-conspirators who avoided the group meetings due to
                                                                          3   antitrust fears.     The meetings were formalized and organized on
                                                                          4   three levels: (1) quarterly top-level meetings attended by CEOs and
                                                                          5   CRT business heads; (2) monthly management-level meetings attended
                                                                          6   by Sales VPs, for example; and (3) monthly or semi-monthly working-
                                                                          7   level meetings attended by lower-level employees, who prepared
                                                                          8   materials and data for use in the management- and top-level
                                                                          9   meetings.     DPP Ex. 31 at 4-8 (labeled 52-57), 11-12 (labeled 73-
                                                                         10   74).   These meetings were supplemented by golf outings among key
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                                                                         11   executives.     Id. at 13 (labeled 75).
                                                                         12          The substance of all of these meetings concerned: (1) market
                                                                         13   updates; (2) market-share analysis; (3) discussion of recent
                                                                         14   customer negotiations; (4) analysis of global CRT supply and
                                                                         15   demand; (5) discussion of members' compliance with earlier
                                                                         16   agreements; and (6) "AOB," or "any other business" to include the
                                                                         17   time and location of the next meeting.        Specifically, Defendants
                                                                         18   are alleged to have used these meetings to set prices, production
                                                                         19   levels, and market shares.      The DPPs have submitted substantial
                                                                         20   documentary evidence, including meeting reports, e-mails,
                                                                         21   memoranda, and testimony documenting these meetings, Defendants'
                                                                         22   efforts to police the conspiracy, and Defendants' methods to
                                                                         23   conceal the conspiracy.
                                                                         24          B.     Investigations
                                                                         25          American and international governmental agencies began
                                                                         26   investigating Defendants' practices in 2007.         Investigating
                                                                         27   agencies included: the U.S. Department of Justice ("DOJ"), the
                                                                         28   European Commission ("EC"), the Japanese Fair Trade Commission



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                                                                          1   ("JFTC"), the Korean Fair Trade Commission ("KFTC"), the Canadian
                                                                          2   Competition Bureau ("CCB") and the Czech Office for the Protection
                                                                          3   of Competition ("COPC").      Specifically as part of the DOJ's
                                                                          4   investigation, Defendant Chunghwa disclosed the conspiracy for
                                                                          5   amnesty from criminal prosecution; SDI pled guilty to participation
                                                                          6   in the CRT conspiracy; and six former SDI, Chunghwa, LGE, and LPD
                                                                          7   executives have been indicted in association with the conspiracy.
                                                                          8   DPP Exs. 5-8.
                                                                          9        The DPPs now propose to certify a class defined as:
                                                                         10              All persons and entities who, between March
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                                                                                         1, 1995 and November 25, 2007, directly
                                                                         11              purchased a CRT Product in the United States
                                                                                         from any Defendant or any subsidiary or
                                                                         12              affiliate thereof, or any co-conspirator or
                                                                                         any   subsidiary   or    affiliate   thereof.
                                                                         13              Excluded from the class are defendants,
                                                                                         their parent companies, subsidiaries or
                                                                         14              affiliates,    any    co-conspirators,    all
                                                                                         governmental entities, and any judges or
                                                                         15              justices assigned to hear any aspect of this
                                                                                         action.
                                                                         16
                                                                         17 III.   LEGAL STANDARD
                                                                         18        Class actions play an important role in the private
                                                                         19   enforcement of antitrust actions.         In re Citric Acid Antitrust
                                                                         20   Litigation, No. C-95-2963 FMS, 1996 U.S. Dist. LEXIS 16409, *22,
                                                                         21   1996 WL 655791 at *8 (N.D. Cal., October 2, 1996).          Courts
                                                                         22   therefore "resolve doubts in these actions in favor of certifying
                                                                         23   the class."   In re Rubber Chemicals Antitrust Litigation, 232
                                                                         24   F.R.D. 346, 350 (N.D.Cal. 2005).       "Courts have stressed that price-
                                                                         25   fixing cases are appropriate for class certification because a
                                                                         26   class-action lawsuit is the most fair and efficient means of
                                                                         27   enforcing the law where antitrust violations have been continuous,
                                                                         28   widespread, and detrimental to as yet unidentified consumers."          In



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                                                                          1   re TFT-LCD (Flat Panel) Antitrust Litigation ("LCDs"), 267 F.R.D.
                                                                          2   583, 592 (N.D. Cal. 2010), amended in part, 2011 U.S. Dist. LEXIS
                                                                          3   84476, 2011 WL 3268649 (N.D. Cal. July 28, 2011) (internal
                                                                          4   citations omitted).
                                                                          5         Parties seeking class certification must, as "a threshold
                                                                          6   matter, and apart from the explicit requirements of Rule 23(a),"
                                                                          7   show an "identifiable and ascertainable class exists."              Mazur v.
                                                                          8   eBay Inc., 257 F.R.D. 563, 567 (N.D. Cal. 2009) (since class would
                                                                          9   include non-harmed auction winners, this portion of the class
                                                                         10   definition was imprecise and overbroad).        Upon making this showing,
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                                                                         11   the Court then turns to Rule 23 of the Federal Rules of Civil
                                                                         12   Procedure, which otherwise govern class actions.          It is the
                                                                         13   plaintiffs' burden to show that they have met the four requirements
                                                                         14   of Rule 23(a) and at least one requirement of Rule 23(b).             See Gen.
                                                                         15   Tel. Co. v. Falcon, 457 U.S. 147, 158-61 (1982); Doniger v. Pac.
                                                                         16   Nw. Bell, Inc., 546 F.2d 1304, 1308 (9th Cir. 1977); Zinser v.
                                                                         17   Accufix Research Institute, Inc., 253 F.3d 1180, 1186 (9th Cir.
                                                                         18   2001).   Rule 23(a) states that a district court may certify a class
                                                                         19   only if:
                                                                         20              (1) the class is so numerous that joinder of
                                                                                         all members is impracticable; (2) there are
                                                                         21              questions of law or fact common to the
                                                                                         class; (3) the claims or defenses of the
                                                                         22              representative parties are typical of the
                                                                                         claims or defenses of the class; and (4) the
                                                                         23              representative   parties  will   fairly  and
                                                                                         adequately protect the interests of the
                                                                         24              class.
                                                                         25   These four requirements are called (1) numerosity, (2) commonality,
                                                                         26   (3) typicality, and (4) adequacy of representation.          Mazza v. Am.
                                                                         27   Honda Motor Co., Inc., 666 F.3d 581, 588 (9th Cir. 2012).
                                                                         28   ///



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                                                                          1        DPPs assert that their class should be certified under Rule
                                                                          2   23(b)(3), which requires the Court to find "that the questions of
                                                                          3   law or fact common to class members predominate over any questions
                                                                          4   affecting only individual members, and that a class action is
                                                                          5   superior to other available methods for fairly and efficiently
                                                                          6   adjudicating the controversy."       This subsection must be satisfied
                                                                          7   "through evidentiary proof."      Comcast, 133 S. Ct. at 1431.
                                                                          8   However, proving predominance does not require plaintiffs to prove
                                                                          9   that every element of a claim is subject to classwide proof: they
                                                                         10   need only show that common questions predominate over questions
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                                                                         11   affecting only individual class members.        Amgen Inc. v. Ct.
                                                                         12   Retirement Plans and Trust Funds, 133 S. Ct. 1184, 1196 (2013).
                                                                         13        Further, the district court's class-certification analysis
                                                                         14   "must be 'rigorous' and may 'entail some overlap with the merits of
                                                                         15   the plaintiff's underlying claim.'"       Id. at 1194 (2013) (quoting
                                                                         16   Wal-Mart Stores, Inc. v. Dukes ("Dukes"), 131 S. Ct. 2541, 2551
                                                                         17   (2011)).   Even so, Rule 23 does not permit the court to "engage in
                                                                         18   free-ranging merits inquiries at the certification stage."          Id. at
                                                                         19   1194-95.   The court may consider merits questions only to the
                                                                         20   extent that they are relevant to whether the Rule 23 prerequisites
                                                                         21   are satisfied.    Id. at 1195.
                                                                         22        If the court finds that the moving party has met its burden of
                                                                         23   proof, the court has broad discretion to certify the class.         Zinser
                                                                         24   v. Accufix Research Inst., Inc., 253 F.3d 1180, 1186, amended by
                                                                         25   273 F.3d 1266 (9th Cir. 2001).
                                                                         26 IV.    DISCUSSION
                                                                         27        The Court will briefly albeit "rigorous[ly]" consider
                                                                         28   numerosity and typicality, each of which were pled by the



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                                                                          1   Plaintiffs and not directly challenged by Mitsubishi.           See Amgen,
                                                                          2   133 S. Ct. at 1194.     The Court will then discuss in turn
                                                                          3   ascertainabilty, commonality, adequacy of representation, and
                                                                          4   predominance, each of which Mitsubishi challenges.
                                                                          5         A.   Numerosity
                                                                          6         Rule 23(a)(1) requires that a class be so numerous that
                                                                          7   joinder is impracticable.      No precise number of potential class
                                                                          8   members is required, and whether joinder would be impracticable
                                                                          9   depends on the facts and circumstances of each case.          Bates v.
                                                                         10   United Parcel Service, 204 F.R.D. 440, 444 (N.D. Cal 2001); 1
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                                                                         11   Robert Newberg, Newberg on Class Actions, § 3:3 (4th Ed. 2002)
                                                                         12   ("Where the exact size of the class is unknown but general
                                                                         13   knowledge and common sense indicate that it is large, the
                                                                         14   numerosity requirement is satisfied.").        See also Ries v. Ariz.
                                                                         15   Bevs. United States LLC, Hornell Brewing Co., 287 F.R.D. 523, 536
                                                                         16   (N.D. Cal. 2012).    Here, DPPs cite to a large number of members of
                                                                         17   the proposed class.     Mot. at 15.    Mitsubishi does not challenge
                                                                         18   their assertion.    The facts and circumstances of this case also
                                                                         19   suggest that there are a large number of potential plaintiffs who
                                                                         20   may have bought a finished product containing a price-fixed CRT
                                                                         21   from an entity owned or controlled by any allegedly conspiring
                                                                         22   defendant (or co-conspirator).10      As there are numerous and
                                                                         23   sufficient indicia that the potential class would be large, the
                                                                         24   Court finds that DPPs have satisfied the numerosity requirement.
                                                                         25   ///
                                                                         26   10
                                                                                The Court only considers Plaintiffs who are so situated or
                                                                         27   similarly situated, as DPPs are proceeding in this case on the
                                                                              theory of the ownership-and-control exception to Royal Printing Co.
                                                                         28   v. Kimberly–Clark Corp., 621 F.2d 323, 326 (9th Cir. 1980). See
                                                                              the Court's Order, dated 29 November 2012, ECF No. 1470.


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                                                                          1        B.      Typicality
                                                                          2        Rule 23(a)(3) requires that the claims or defenses of the
                                                                          3   representative parties be typical of the claims or defenses of the
                                                                          4   class.     The class representatives must generally be part of the
                                                                          5   class, and must possess the same interest and suffer the same
                                                                          6   injury as the class members.
                                                                          7        Typicality requirements are often satisfied "wherein it is
                                                                          8   alleged that the defendants engaged in a common [price-fixing]
                                                                          9   scheme relative to all members of the class."          In re Catfish
                                                                         10   Antitrust Litig., 826 F. Supp. 1019, 1035 (N.D. Miss. 1993).           In
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                                                                         11   such cases, "there is a strong assumption that the claims of the
                                                                         12   representative parties will be typical of the absent class
                                                                         13   members."    Id.   This is true even where "the plaintiff followed
                                                                         14   different purchasing procedures, purchased in different quantities
                                                                         15   or at different prices, or purchased a different mix of products
                                                                         16   than did the members of the class."        In re TFT-LCD Antitrust Litig.
                                                                         17   ("TFT-LCDs"), 267 F.R.D. 291, 300 (N.D. Cal. 2010) (quoting In re
                                                                         18   Dynamic Random Access Memory Antitrust Litig. ("DRAM"), No. M 02-
                                                                         19   1486 PHJ, 2006 U.S. Dist. LEXIS 39841, *30, 2006 WL 1530166, *4
                                                                         20   (N.D. Cal. 2006)).
                                                                         21        Accordingly, DPPs argue that claims of all other class members
                                                                         22   stem from the same event, practice, or course of conduct, namely
                                                                         23   the conspiracy.    Mitsubishi does not directly challenge this
                                                                         24   prong.11    Yet even had Mitsubishi directly challenged typicality,
                                                                         25   the pervasive nature and common impact of Defendants' alleged
                                                                         26   price-fixing scheme supports that the claims made by the DPPs "stem
                                                                         27
                                                                              11
                                                                         28     Insofar as arguments Mitsubishi makes that might be relevant are
                                                                              made within the context of other prongs, they are addressed infra.


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                                                                          1   from the same event, practice, or course of conduct that forms the
                                                                          2   basis of the claims of the class and are based on the same legal or
                                                                          3   remedial theory."    In re Citric Acid, 1996 U.S. Dist. LEXIS 16409
                                                                          4   at *8-9, 1996 WL 655791 at *3.       Therefore, typicality is satisfied.
                                                                          5        C.     Ascertainability
                                                                          6        Mitsubishi argues that the proposed class definition is not
                                                                          7   ascertainable because, for various reasons, the scope of language
                                                                          8   in the proposed class is overbroad.
                                                                          9        "As a threshold matter, and apart from the explicit
                                                                         10   requirements of Rule 23(a), the party seeking class certification
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                                                                         11   must demonstrate that an identifiable and ascertainable class
                                                                         12   exists."   Mazur v. eBay, Inc., 257 F.R.D. 563, 567 (N.D. Cal.
                                                                         13   2009).    "A class definition should be precise, objective, and
                                                                         14   presently ascertainable."      Id.   The class definition must be
                                                                         15   sufficiently definite such that its members can be ascertained by
                                                                         16   reference to objective criteria.      Whiteway v. FedEx Kinko's Office
                                                                         17   & Print Servs., Inc., No. C 05-2320 SBA, 2006 U.S. Dist. LEXIS
                                                                         18   69193, *10, 2006 WL 2642528, *3 (N.D. Cal. Sept. 14, 2006).         "[A]
                                                                         19   class will be found to exist if the description of the class is
                                                                         20   definite enough so that it is administratively feasible for the
                                                                         21   court to ascertain whether an individual is a member."          O'Conner v.
                                                                         22   Boeing N. Am., Inc., 184 F.R.D. 311, 319 (C.D. Cal. 1998).
                                                                         23        Here, the Court finds that the class can be ascertained by
                                                                         24   reference to objective criteria.      The class requires a class
                                                                         25   member: (a) to be harmed within a specific date range; (b) to have
                                                                         26   made their purchase within the United States; (c) to have purchased
                                                                         27   a CRT Product; (d) to have made the purchase from a discrete seller
                                                                         28   (namely a Defendant in this action or a subsidiary or affiliate



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                                                                          1   thereof or any co-conspirator or any subsidiary or affiliate
                                                                          2   thereof); and finally (e) not be among those specifically excluded.
                                                                          3         Mitsubishi disagrees, making three arguments directly
                                                                          4   attacking ascertainability.       The Court addresses each in turn.
                                                                          5            i.       The Terms "Defendant" and "Affiliate"
                                                                          6         Mitsubishi first contends that the DPPs' proposed class is not
                                                                          7   ascertainable because the class does not adequately distinguish
                                                                          8   between those who would be within the class from those who would be
                                                                          9   excluded and because it includes those who lack standing.12           Put
                                                                         10   more artfully, Mitsubishi argues the class is overbroad in scope in
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                                                                         11   light of the Court's earlier ruling.
                                                                         12         The Court is not convinced.      Plaintiffs' definition is not out
                                                                         13   of line with previously certified classes in this action.            See ECF
                                                                         14   Nos. 1179, 1412, 1333, 1508, 1441, 1621, 1603, 1791.           While the
                                                                         15   scope of the class as worded may seem broad at first blush, there
                                                                         16   is little danger of being unable to ascertain whether one is a
                                                                         17   member of the class or accidentally including somebody without
                                                                         18   standing.     DPPs limit the scope of the class to those who, within a
                                                                         19   specific date and location, purchased from a defined group a "CRT
                                                                         20   Product."13    Thus DPPs here are those who would claim to have
                                                                         21   bought finished products directly from Defendants, co-conspirators,
                                                                         22   or entities owned or controlled by them, which comprises those whom
                                                                         23   the Court has already stated would have standing in its earlier
                                                                         24   ///
                                                                         25   12
                                                                                 This argument was offered as part of the "threshold" argument at
                                                                         26   Opp'n 7-9, but is in line with and thus addressed here, as part of
                                                                              Mitsubishi's first argument.
                                                                              13
                                                                         27      But c.f. Sanders v. Apple Inc., 672 F. Supp. 2d 978, 991 (class
                                                                              not ascertainable where the class proposed contained no limits on
                                                                         28   class membership accounting for purchase of the owned product or
                                                                              owners being deceived by advertisements).


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                                                                          1   ruling.14   Potential class members can determine if they fall
                                                                          2   within the class by review of their sales records and invoices.
                                                                          3   See Reply at 4, 4 n. 7.      Thus class members will easily be able to
                                                                          4   answer the question, "Did you buy a 'CRT Product' from a Defendant
                                                                          5   or an alleged co-conspirator or known subsidiary thereof?"            All
                                                                          6   harm was also in the past, obviating concerns about whether
                                                                          7   somebody who receives notice would know if they were harmed (and
                                                                          8   thus be able to intentionally decide whether or not to opt out of
                                                                          9   the class).15   The class as drafted therefore allows for people to
                                                                         10   determine whether they are class members and have standing in line
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                                                                         11   with the exception to Illinois Brick Co. v. Illinois, 431 U.S. 720,
                                                                         12   97 (1977) this court has found to apply per Royal Printing Co. v.
                                                                         13   Kimberly-Clark Corp., 621 F.2d 323, 326 (9th Cir. 1980).             See Order
                                                                         14   of the Court dated November 29, 2012, ECF No. 1470.           Insofar as
                                                                         15   Mitsubishi is merely inviting the Court to readdress its earlier
                                                                         16   order, the Court declines.
                                                                         17         Mitsubishi next contends that the term "defendant" in the
                                                                         18   proposed class definition is over-inclusive and not objectively
                                                                         19   ascertainable because it would incorporate CRT Product sellers from
                                                                         20   a "defendant" without requiring any showing that the "defendant" is
                                                                         21   a conspiring seller or an entity "owned or controlled" by a
                                                                         22   ///
                                                                         23   14
                                                                                 But c.f. Bishop v. Saab Automobile A.B., No. CV-95-0721 JGD
                                                                         24   (JRx), 1996 LEXIS 22890, *14, 1996 WL 33150020, *5 (C.D. Cal. 1996)
                                                                              (where a "vast majority of the purported members lack[ed] standing"
                                                                         25   having either not suffered any harm or being directly barred from
                                                                              suit by law).
                                                                              15
                                                                         26      But c.f. Valentino v. Carter-Wallace, Inc., 97 F.3d 1227, 1234
                                                                              (9th Cir. Cal. 1996) ("serious due process concerns" about
                                                                         27   providing adequate notice to allow people to opt out where there
                                                                              was no way for drug users to know whether they were in the future
                                                                         28   going to experience sufficient actual injury to become part of the
                                                                              class).


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                                                                          1   conspiring seller.     Opp'n at 9-11.      Mitsubishi expresses special
                                                                          2   concern that some Defendants who sold finished products were not
                                                                          3   even in the CRT business and therefore could not have been
                                                                          4   "conspiring sellers."      Opp'n at 9-10.
                                                                          5           The Court is still not convinced.      The Court has not
                                                                          6   prohibited finished product sellers from being defendants in this
                                                                          7   action.16    See Order of the Court dated November 29, 2012, ECF No.
                                                                          8   1470.    That some finished product sellers may, by stipulation, have
                                                                          9   not been in the CRT business does not mean they were not owned or
                                                                         10   controlled by a member of the CRT business.         Thus they may well be
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                                                                         11   a proper "defendant."      If they were not a proper defendant, then
                                                                         12   they could easily seek relief pursuant to the Court's earlier
                                                                         13   ruling on summary judgment -- which seems to be what Mitsubishi is
                                                                         14   really challenging.     However, given the sheer scope of this
                                                                         15   conspiracy it seems that the concern raised here will be the highly
                                                                         16   rare exception rather than the rule.        Even if some individuals are
                                                                         17   thus able to join the class and then are later determined to not
                                                                         18   have valid claims against a proper defendant, this does not
                                                                         19   preclude class certification.       Kohen v. Pac. Inv. Mgmt. Co., 571
                                                                         20   F.3d 672, 677 (7th Cir. 2009) ("a class will often include persons
                                                                         21   who have not been injured by the defendant's conduct . . . [but]
                                                                         22   [s]uch a possibility or indeed inevitability does not preclude
                                                                         23   class certification").      As the "general outlines of the membership
                                                                         24   of the class are determinable at the outset of the litigation," the
                                                                         25   class can be ascertained.      O'Connor, 184 F.R.D. at 319.17        Whether
                                                                         26   16
                                                                                 Indeed, DPPs expressly note the existence of at least one named
                                                                         27   plaintiff (Princeton) who purchased CRTs directly from
                                                                              conspirators. See Reply at 10 n. 13.
                                                                              17
                                                                         28      Mitsubishi cites Mazur to suggest that a class is not
                                                                              ascertainable when the definition is so imprecise that (a)


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                                                                          1   the DPPs can prove at trial that the alleged Defendants were either
                                                                          2   conspiring sellers of price-fixed CRTs or owned or controlled by
                                                                          3   those sellers per Royal Printing is a question not properly
                                                                          4   resolved on a motion for class certification.         Insofar as
                                                                          5   Mitsubishi is yet again inviting the Court to readdress its earlier
                                                                          6   order, the Court again declines.
                                                                          7         Mistubishi's argument as to the term "affiliate" being over-
                                                                          8   inclusive is similar, slightly more compelling, but still easily
                                                                          9   overcome.   Mitsubishi notes that "affiliate" could be used to sweep
                                                                         10   within the proposed class parties that lack standing.          While the
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                                                                         11   Court holds that much of the rationale above still applies, the
                                                                         12   Court does appreciate that the limits innately present in the term
                                                                         13   "defendant" do not similarly limit the term "affiliate."            To allay
                                                                         14   any potential concern for related ascertainability issues, the
                                                                         15   Court hereby ORDERS DPPs to specifically identify the
                                                                         16   "affiliate[s]" in the class definition (and class notice) to enable
                                                                         17   ///
                                                                         18   ///
                                                                         19
                                                                         20   individuals might not be able to determine if they are eligible
                                                                              members of the class or (b) when the class includes members who are
                                                                         21   unharmed or lack standing under the law. See Mazur, 257 F.R.D.
                                                                              567-8; Opp'n at 8. However, Mazur makes clear that "the class need
                                                                         22   not be so ascertainable that every potential member can be
                                                                              identified at the commencement of the action." Mazur, 257 F.R.D.
                                                                         23   at 567 citing O'Connor, 184 F.R.D. 311, 319 (C.D. Cal 1998). In
                                                                              Mazur, the court found the first class of people who actually won
                                                                         24   an online auction was objective and likely readily ascertainable by
                                                                              records. Mazur, 257 F.R.D. at 567. Mazur found difficulties with
                                                                         25   that same group and another subclass insofar as there was a wide
                                                                              swath of potential class members who would be unharmed, statutorily
                                                                         26   barred, or who could not discern from records whether they were
                                                                              part of the class. Id. Specifically, such people were not yet
                                                                         27   aggrieved. Here, as evidence supports so much of the market being
                                                                              controlled or impacted by a single CRT conspiracy, there is
                                                                         28   unlikely to be a large group who is not yet harmed or whose claims
                                                                              would be barred (except per the Court's order on summary judgment).


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                                                                          1   the parties and class members to better determine who is in the
                                                                          2   class.18
                                                                          3           ii.       Overlap Between the IPP and DPP Classes
                                                                          4        Mitsubishi also contends that the proposed class overlaps with
                                                                          5   the now-approved IPP class.       Opp'n at 11-12.     The IPP class is
                                                                          6   defined to include "All persons and entities . . . who, from March
                                                                          7   1, 1995 to November 25, 2007 . . . purchased Cathode Ray Tubes
                                                                          8   incorporated in televisions and monitors . . . indirectly from any
                                                                          9   defendant or subsidiary thereof, or any named affiliate or any
                                                                         10   named co-conspirator, for their own use and not for resale . . . ."
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                                                                         11   ECF No. 1742.    Mitsubishi argues this definition encompasses at
                                                                         12   least some of the DPPs' proposed class members because said class
                                                                         13   members also indirectly bought CRTs incorporated in televisions and
                                                                         14   monitors.     Thus purchasers who receive both class notices would
                                                                         15   theoretically not be able to determine whether they belong in one
                                                                         16   class or the other.
                                                                         17        The Court finds that the classes do not overlap.           The IPP
                                                                         18   class is expressly limited to end-users who not only purchased the
                                                                         19   relevant products "indirectly," as opposed to "directly," but also
                                                                         20   who purchased for their own use and not for resale.19          While the
                                                                         21
                                                                              18
                                                                         22      In making this order, the Court notes that DPPs specifically
                                                                              volunteered to adhere to this approach which has been previously
                                                                         23   applied in TFT-LCDs, 267 F.R.D. at 299-300. Reply at 5 n.8.
                                                                              19
                                                                                 In Loeb Indus. v. Sumitomo Corp. (In re Copper Antitrust
                                                                         24   Litig.), 196 F.R.D. 348, 358 (W.D. Wis. 2000), the class at issue
                                                                              did not describe "persons who bought Product X at any time between
                                                                         25   such and such dates." Here, that is very much the type of
                                                                              description this court evaluates. Other cases cited by Mitsubishi
                                                                         26   to support that "[t]he potential overlapping class membership . . .
                                                                              demonstrates it would not be administratively feasible for the
                                                                         27   court to ascertain whether an individual is a class member" do not
                                                                              seem to directly discuss overlapping classes or else are not
                                                                         28   binding authority for the Court. See Opp'n at 11-12 (internal
                                                                              citations omitted).


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                                                                          1   Court understands the concern that an indirect purchaser of
                                                                          2   finished products not for resale might think he or she could be
                                                                          3   part of both classes, the Court finds the concern is ultimately
                                                                          4   invalid here.    For the concern to be valid, it would necessitate a
                                                                          5   purchaser receive both notices.       In such a case,20 the difference
                                                                          6   would be clear on the face of the notice(s).          The Court thus finds
                                                                          7   that there is no real risk of a notice recipient not reasonably
                                                                          8   being able to determine its class eligibility.
                                                                          9          iii.      Standing
                                                                         10        Mitsubishi argues that the Court's ruling on summary judgment
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                                                                         11   does not constitute a finding that class representatives actually
                                                                         12   have standing.    It further argues that a showing of class
                                                                         13   ascertainability must be made prior to class certification.           And
                                                                         14   finally, Mitsubishi asserts that the present showing fails to
                                                                         15   exclude potential class members who lack standing.           Opp'n at 12-13.
                                                                         16        The Court agrees it has not found by its previous ruling that
                                                                         17   standing exists as to every possible defendant, merely that there
                                                                         18   continues to be a material question of fact making summary judgment
                                                                         19   inappropriate at that time as against the plaintiffs included in
                                                                         20   that motion.    While the Court must make a "rigorous" inquiry into
                                                                         21   class certification, the Court is not to enter the merits of this
                                                                         22   case more than is necessary to determine if certification of the
                                                                         23   class is appropriate.      Amgen, 133 S. Ct. at 1194-95.       Here, the
                                                                         24   Court finds there is ample evidence that could be used at trial to
                                                                         25   support the limited theory of standing permitted to DPPs.            The mere
                                                                         26   "possibility or indeed inevitability" of including a member in the
                                                                         27   20
                                                                                Per DPP Ex. 179, such a case is unlikely. Mitsubishi also does
                                                                         28   not cite a likely example where this might happen, let alone happen
                                                                              to an unsophisticated party likely to be confused.


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                                                                          1   class who ultimately, at the end of trial, turns out to lack
                                                                          2   standing does not prevent class certification.          Kohen, 571 F.3d at
                                                                          3   677.   Where, as here, there are "general outlines of the membership
                                                                          4   of the class" which are "determinable at the outset of the
                                                                          5   litigation, a class will be deemed to exist."          O'Connor, 184 F.R.D.
                                                                          6   at 319.21    Accordingly, the Court rejects Mitsubishi's standing
                                                                          7   arguments.    Therefore, the class as proposed by DPPs is found to be
                                                                          8   ascertainable (subject to the Court's order of specifically
                                                                          9   identifying "affiliates").
                                                                         10          D.    Commonality
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                                                                         11          Mitsubishi argues both that there are no common questions that
                                                                         12   relate to the existence of the alleged conspiracy, and second that
                                                                         13   there are no common questions relating to the existence of
                                                                         14   classwide impact or damages.       Opp'n at 13-16.     For the reasons set
                                                                         15   forth below, the Court rejects both these arguments and finds that
                                                                         16   commonality is satisfied.
                                                                         17          Rule 23(a)(2) requires that there be "questions of law or fact
                                                                         18   common to the class."      "Commonality requires the plaintiff to
                                                                         19   demonstrate that the class members have suffered the same injury.
                                                                         20   This does not mean merely that they have all suffered a violation
                                                                         21   of the same provision of law."       Dukes, 131 S. Ct. at 2551 (internal
                                                                         22   citations and quotation marks omitted).         Instead, plaintiffs'
                                                                         23   "claims must depend upon a common contention . . . of such a nature
                                                                         24   that it is capable of classwide resolution -- which means that
                                                                         25   determination of its truth or falsity will resolve an issue that is
                                                                         26   21
                                                                                The Court agrees that a showing must be made before
                                                                         27   certification that the class is ascertainable. See In re Paxil
                                                                              Litig., 212 F.R.D. 539, 545 (C.D. Cal. 2003) (cited by Mitsubishi
                                                                         28   in Opp'n at 12-13). However, for the reasons set forth above, the
                                                                              Court finds that here that requirement has been satisfied.


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                                                                          1   central to the validity of each one of the claims in one stroke."
                                                                          2   Id.   Thus, "[w]hat matters to class certification . . . is not the
                                                                          3   raising of common 'questions' -- even in droves -- but, rather the
                                                                          4   capacity of a classwide proceeding to generate common answers apt
                                                                          5   to drive the resolution of the litigation.        Dissimilarities within
                                                                          6   the proposed class are what have the potential to impede the
                                                                          7   generation of common answers."      Id. (internal quotation omitted).
                                                                          8         Courts in this judicial district have been consistent: "where
                                                                          9   an antitrust conspiracy has been alleged, courts have consistently
                                                                         10   held that the very nature of a conspiracy antitrust action compels
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                                                                         11   a finding that common questions of law and fact exist."             DRAM, 2006
                                                                         12   U.S. Dist. LEXIS 39841 at *29, 2006 WL 1530166 at *3.          DPPs cite
                                                                         13   similar authorities, and assert additional common questions include
                                                                         14   (1) whether Defendants' conduct caused the prices of CRTs to be set
                                                                         15   at supra-competitive levels, (2) the measure of classwide damages,
                                                                         16   and (3) whether Defendants engaged in affirmative acts to conceal
                                                                         17   the conspiracy.   Mot. at 16.
                                                                         18         Mitsubishi opposes these contentions.       It argues, first, that
                                                                         19   there are no common questions relating to the existence of the
                                                                         20   alleged conspiracy because CPTs and CDTs were discussed in separate
                                                                         21   meetings for most of the twelve-year class period, which would
                                                                         22   require the two types of CRTs to be analyzed separately.            Opp'n at
                                                                         23   14-15.   According to Mitsubishi, that most law enforcement agencies
                                                                         24   have analyzed the two CRT types separately for criminal liability,
                                                                         25   that Dr. Leitzinger (DPP's expert) often treats the two differently
                                                                         26   even in this case, and that the evidence generally supports
                                                                         27   different answers at different times with respect to the different
                                                                         28   CRT products shows that the DPPs' allegations of conspiracy lack



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                                                                          1   common evidence.     Id.   Second, Mitsubishi contends that the
                                                                          2   difference in market factors between CPTs and CDTs belies DPPs'
                                                                          3   argument that the putative class shares common questions of impact
                                                                          4   or damages.    Id. at 15-16.     On this point, Mitsubishi points to the
                                                                          5   fact that Dr. Leitzinger's quantitative studies evaluate CPTs and
                                                                          6   CDTs separately and did not show that prices of CDTs and CPTs were
                                                                          7   linked.    Mitsubishi therefore concludes that Plaintiffs fail to
                                                                          8   show common questions capable of producing common answers for the
                                                                          9   entire class in "one stroke" with respect to the alleged
                                                                         10   conspiracy's impact on CPTs and CDTs.        Id. at 16 (citing Dukes, 131
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                                                                         11   S. Ct. at 2551).
                                                                         12        The Court finds that the DPPs satisfy the commonality
                                                                         13   requirement.    Per Dukes, the DPPs' antitrust claim depends on a
                                                                         14   common contention that Defendants' alleged price-fixing conspiracy
                                                                         15   increased the prices of all CRT products -- including CPTs and
                                                                         16   CDTs.22    Mitsubishi concedes that there were joint meetings prior
                                                                         17   to 2000.    See Opp'n at 14.23    DPPs' evidence suggests that even
                                                                         18   22
                                                                                 Mitsubishi cites Ellis v. Costco Wholesale Corp., 657 F.3d 970,
                                                                         19   981 (9th Cir. 2011), quoting Dukes, 131 S. Ct. at 2552, to
                                                                              emphasize the need of common questions to answer the underlying
                                                                         20   question of why something happened rather than merely whether a
                                                                              group was commonly harmed. The Court finds the common evidence
                                                                         21   here does precisely that, answering not only whether Plaintiffs
                                                                              were harmed but also the critical question of why they were harmed
                                                                         22   with a common answer -- namely, a massive conspiracy by Defendants
                                                                              whose reach was so wide it included multiple (or else all) facets
                                                                         23   of the CRT market to such a substantial degree that differences
                                                                              which may exist between one market sub-facet and another appear
                                                                         24   inconsequential in context. See Ellis, 657 F.3d at 981 ("all
                                                                              questions of fact and law need not be common to satisfy the
                                                                         25   rule")(internal citations omitted).
                                                                              23
                                                                                 Mitsubishi alleges it did not attend any of the joint or
                                                                         26   separate meetings. Opp'n at 14. However, Exhibits submitted under
                                                                              seal by DPPs and Mitsubishi suggest there may be factual dispute as
                                                                         27   to that point. See, e.g., Def. Ex. 1 at 14, 16, 19, 24; Def. Ex. 6
                                                                              at 12; Expert Report of Dr. Leitzinger at 19; DPP Ex. 2 at 2
                                                                         28   (labeled 60); DPP Ex. 28 at 39; DPP Ex. 38 at 2. The Court does
                                                                              not opine upon or seek to resolve that dispute here, but the


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                                                                          1   after the CPT and CDT meetings were separated, they involved mostly
                                                                          2   the same companies and were attended by mostly the same people.
                                                                          3   Mot. at 7.   DPPs even show that certain size CDTs and CPTs were
                                                                          4   built in the same factories using processes allowing Defendants to
                                                                          5   change production from one to another.       See DPP Ex. 67 at 4
                                                                          6   (labeled 114).   The DPPs' documentary evidence and their economic
                                                                          7   analyses also indicate that CDTs and CRTs are not so dissimilar as
                                                                          8   to impede common resolution of the DPPs' claims, even if different
                                                                          9   meetings and products were involved.       See Mot. at 7.     Accordingly,
                                                                         10   the Court is not persuaded as to Mitsubishi's first argument that
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                                                                         11   the differences between CDTs and CPTs are so great that they cannot
                                                                         12   be included in one class.
                                                                         13        Insofar as Mitsubishi's arguments go specifically toward
                                                                         14   commonality (vice predominance), it is clear to the Court that
                                                                         15   there are common questions of law and fact here which are
                                                                         16   appropriate for resolution at trial.       Resolving these factual
                                                                         17   matters at this stage would be an intrusion into the merits beyond
                                                                         18   the scope of an inquiry into class certification.         There may be
                                                                         19   some dissimilarities within the class, but based on the DPPs'
                                                                         20   theories and evidence, they have provided a common way to account
                                                                         21   for the factual and legal differences raised here.          See Dukes, 131
                                                                         22   S. Ct. at 2551; see also Meyer v. Portfolio Recovery Assocs., LLC,
                                                                         23   707 F.3d 1036, 1041 (9th Cir. 2012) ("All questions of fact and law
                                                                         24   need not be common to satisfy the [commonality requirement]"
                                                                         25   (citations and quotation marks omitted) (citing Hanlon v. Chrysler
                                                                         26   Corp., 150 F.3d 1011, 1019 (9th Cir. 2008)).
                                                                         27
                                                                              existence of the dispute underscores that common facts about the
                                                                         28   conspiracy may answer questions common to both those who purchased
                                                                              any type of CRT Product -- CPTs and CDTs.


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                                                                          1        Accordingly, the Court finds that DPPs satisfy commonality per
                                                                          2   Rule 23(a)(2).   The Court discusses predominance further below.
                                                                          3        E.     Adequacy of Representation
                                                                          4        Rule 23(a)(4) requires that the Named DPPs (1) have no
                                                                          5   interests that are antagonistic to or in conflict with the
                                                                          6   interests of the class; and (2) be represented by counsel able to
                                                                          7   vigorously prosecute their interests.       In re Static Random Access
                                                                          8   (SRAM) Antitrust Litig., No. C 07-01819-CW, 2008 U.S. Dist. LEXIS
                                                                          9   107523, *40, 2008 WL 4447592, *4 (N.D. Cal. Sept. 29, 2008) (citing
                                                                         10   Staton v. Boeing Co., 327 F.3d 938, 957-58 (9th Cir. 2003)).         In
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                                                                         11   this case, the Court finds Named DPPs' interests do not conflict
                                                                         12   with those of the absent class members, and counsel for the
                                                                         13   putative class is skilled and experienced.        See Mot. at 17-18.
                                                                         14        Mitsubishi argues that the class representatives have failed
                                                                         15   to make a showing of standing under the limited theory of standing
                                                                         16   left to them pursuant to Illinois Brick, Royal Printing, and this
                                                                         17   Court's earlier ruling.     Specifically, Mitsubishi argues that "DPPs
                                                                         18   cannot satisfy their burden for establishing adequacy by merely
                                                                         19   identifying evidence from which the Court could infer the possible
                                                                         20   existence of standing.     DPPs should be required to satisfy that
                                                                         21   burden prior to class certification."       Opp'n at 22.     Mitsubishi
                                                                         22   also seems to suggest allegations of fact are insufficient to show
                                                                         23   standing.   Opp'n at 23-24.
                                                                         24        The Court has addressed standing arguments several times
                                                                         25   above, and remains unpersuaded by this variant.         A district court
                                                                         26   may address standing before it addresses the issue of class
                                                                         27   certification.   Easter v. Am. West Fin., 381 F.3d 948, 962 (9th
                                                                         28   Cir. 2004); In re Ditropan XL Antitrust Litig., 529 F. Supp. 2d



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                                                                          1   1098, 1107 (N.D. Cal. 2007).24      Mitsubishi cites Lierboe for the
                                                                          2   proposition that "class representatives must have standing to bring
                                                                          3   all claims held by the putative class to which they belong and
                                                                          4   which they purpose to represent."          Opp'n at 21.   In Lierboe, the
                                                                          5   appellate court vacated class certification where the sole
                                                                          6   plaintiff in that class action suit was found via intervening
                                                                          7   action by the State Supreme Court to have no legally cognizable
                                                                          8   claim and thus lacked standing.       Lierboe v. State Farm Mut. Auto.
                                                                          9   Ins. Co., 350 F.3d 1018, 1020-1022 (9th Cir. 2003).           Mitsubishi is
                                                                         10   thus in effect urging the Court to consider that "standing is the
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                                                                         11   threshold issue in any suit.       If the individual plaintiff lacks
                                                                         12   standing, the court need never reach the class action issue." Id.
                                                                         13   at 1022, citing 3 Herbert B. Newberg on Class Actions § 3:19, at
                                                                         14   400 (4th ed. 2002).     However, this case does not involve a single
                                                                         15   plaintiff who has been found to lack standing, but rather a price-
                                                                         16   fixing scheme where the Court has already recognized that
                                                                         17   cognizable legal theories of standing may exist for DPPs to a
                                                                         18   degree sufficient to deny summary judgment.25         Accordingly, Lierboe
                                                                         19   does not require the Court to dismiss this motion.
                                                                         20   ///
                                                                         21   24
                                                                                 DPPs urge that, properly understood, these cases provide that
                                                                         22   the Court may reach standing prior to class certification but do
                                                                              not obligate such a review. Reply at 10 n. 14. The Court
                                                                         23   understands the distinction but declines to opine on it, as the
                                                                              distinction would not make any difference to the outcome here.
                                                                              25
                                                                         24      The Court is not the first to note such distinctions. See,
                                                                              e.g., In re Static Random Access Memory Antitrust Litig., No. 07-
                                                                         25   md-01819 CW, 2010 U.S. Dist. LEXIS 141670, *57, 2010 WL 5071694,
                                                                              *10 (N.D. Cal. 2010) (distinguishing Lierboe in a price-fixing case
                                                                         26   where, if proven, alleged facts would constitute a violation of the
                                                                              Sherman Act); Nat'l Fed'n of the Blind v. Target Corp., No. C 06-
                                                                         27   01802 MHP, 2008 U.S. Dist. LEXIS 84390, *4, 2008 WL 54377, *1 (N.D.
                                                                              Cal. 2008) (finding Lierboe "inapposite" where a party established
                                                                         28   legal standing to assert an ADA claim but failed to survive summary
                                                                              judgment on the merits).


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                                                                          1         Even within the theory permitted by the Court's order on
                                                                          2   summary judgment, DPPs have met their standing burden.           Mitsubishi
                                                                          3   states that standing in this case requires a showing that DPPs
                                                                          4   "purchased finished products directly from an entity owned or
                                                                          5   controlled by Defendants or an alleged co-conspirator."              Opp'n at
                                                                          6   22.   "Standing is satisfied if at least one named plaintiff meets
                                                                          7   the requirements."     Stearns v. Ticketmaster Corp., 655 F.3d 1013,
                                                                          8   1021 (9th Cir. 2011).      DPPs extensively cite exhibits wherein
                                                                          9   multiple named Plaintiffs allege purchasing CRTs or finished
                                                                         10   products from an entity owned or controlled by or else directly
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                                                                         11   from an alleged co-conspirator.       See Reply at 8-9; 10 n. 13.        The
                                                                         12   Court therefore finds DPPs meet their burden on standing
                                                                         13   sufficiently to certify the class.26
                                                                         14         Mitsubishi further argues that DPP's pleadings do not fully
                                                                         15   support standing.     Mitsubishi cites that DPPs are alleged to have
                                                                         16   purchased "one or more CRTs directly from one of the Defendants or
                                                                         17   Co-Conspirators and/or their subsidiaries" without naming a
                                                                         18   specific DPP who purchase a finished product.          Opp'n at 23.     Absent
                                                                         19   such a showing, Mitsubishi argues that DPPs lack standing.
                                                                         20         The Court also rejects this argument.        In response to
                                                                         21   Mistubishi's concern, DPPs expressly cite a named Plaintiff who
                                                                         22
                                                                              26
                                                                         23     The Court agrees with DPPs that Preap v. Johnson, 303 F.R.D.
                                                                              566, 584 (N.D. Cal. 2014) does not state a legal standard for
                                                                         24   evaluating standing, merely the standard for evaluating Rule 23
                                                                              categories. C.f. Reply at 10; contra Opp'n at 22-23. The Court
                                                                         25   suspects that the proper standard is a preponderance of the
                                                                              evidence but does not resolve the question here because the Court
                                                                         26   is satisfied that a preponderance of the evidence shows there would
                                                                              be standing at trial based on the limited evidence submitted to the
                                                                         27   Court. The Court also does not reach the question of whether a
                                                                              specific claim of standing as to a particular named DPP would
                                                                         28   survive if evaluated for summary judgment on the merits or
                                                                              presented trial.


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                                                                          1   directly purchased a CRT from a "Co-Conspirator[] and/or their
                                                                          2   subsidiar[y]."   See Reply at 10 n. 13.      DPPs also cite where, in a
                                                                          3   section other than "Parties," they allege purchase of finished
                                                                          4   products.    See Reply at 11.    Per Stearns, only a single Plaintiff
                                                                          5   needs to meet standing requirements.       655 F.3d at 1021.
                                                                          6   Accordingly, the crux of Mitsubishi's argument has been rebutted.
                                                                          7        Embedded in this argument, Mitsubishi also seeks to assert
                                                                          8   that the Court cannot expand the class definition to accommodate
                                                                          9   the owned-or-controlled theory without an amended complaint.
                                                                         10   Authorities within this judicial district diverge on whether the
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                                                                         11   Court is actually bound to class definitions provided in the
                                                                         12   complaint.   Compare Costelo v. Chertoff, 258 F.R.D. 600, 604-05
                                                                         13   (C.D. Cal. 2009)(the Court is bound by the class definitions
                                                                         14   provided in the complaint), with In re Conseco Life Ins. Co.
                                                                         15   Lifetrend Ins. Sales & Mktg. Litig., 270 F.R.D. 521, 530 (N.D. Cal.
                                                                         16   2010) (allowing Plaintiffs to narrow their breach of contract
                                                                         17   theory via class certification motion based on factual developments
                                                                         18   that have occurred since the filing of the complaint).          Mitsubishi
                                                                         19   cites as persuasive authority Savanna Group, Inc. v. Trynex, Inc.,
                                                                         20   No. 10-cv-7995, 2013 U.S. Dist. LEXIS 1277, *7-10, 2013 WL 66181,
                                                                         21   *2-3 (N.D. Ill. 2013).     There, in considering that courts will
                                                                         22   "typically, though not invariably" hold a Plaintiff to the
                                                                         23   definition in the complaint, the Court recognized that "a motion
                                                                         24   for class certification does not operate as a de facto amendment of
                                                                         25   a party's complaint [but that] d[oes] not suggest that differing
                                                                         26   class definitions preclude[] certification."         2013 U.S. Dist. LEXIS
                                                                         27   1277 at *9, 2013 WL 66181 at *3 (internal citations omitted).
                                                                         28   Savanna also considered that Rule 23 contemplated amendment of a



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                                                                          1   class certification order prior to judgment and recognized that
                                                                          2   Defendants were not prejudiced by the timing where they had been
                                                                          3   given ample chance to respond to the updated definition.             2013 U.S.
                                                                          4   Dist. LEXIS 1277 at *9-10, 2013 WL 66181 at *3.          Accordingly, the
                                                                          5   change of class definition did "not forestall the Court's class
                                                                          6   certification inquiry."      2013 U.S. Dist. LEXIS 1277 at *10, 2013 WL
                                                                          7   66181 at *3.    Here, the Court recognizes that the parties have all
                                                                          8   had ample time to consider and respond to the class definition as
                                                                          9   proposed, that amendments (if any) to the complaint would only be
                                                                         10   necessary to conform the complaint to the results of litigation in
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                                                                         11   this same case (e.g., the Court's ruling on summary judgment), and
                                                                         12   that if an amendment is actually necessary27 it can be made prior
                                                                         13   to judgment but after the class is certified.          Accordingly, this
                                                                         14   issue does not forestall the Court's class certification inquiry.
                                                                         15        Therefore, the Court finds DPPs have satisfied adequacy.
                                                                         16        F.    Predominance under Rule 23(b)(3)
                                                                         17        Rule 23(b)(3) requires that "questions of law or fact common
                                                                         18   to class members predominate over any questions affecting only
                                                                         19   individual members" and that class action is superior to other
                                                                         20   available methods for fair and efficient adjudication.           See Amchem
                                                                         21   Prods. Inc. v. Windsor, 521 U.S. 591, 615 (1997).          In determining
                                                                         22   whether the predominance requirement is satisfied, the court must
                                                                         23   identify the case's issues and determine which are subject to
                                                                         24   common proof and which are subject to individualized proof.            See
                                                                         25
                                                                              27
                                                                         26     The Court does not opine on this, though encourages DPPs to
                                                                              review this matter to determine if an amendment of the complaint
                                                                         27   will be necessary. If so, the Court grants leave to amend the
                                                                              complaint within 30 days of this order for the single, limited
                                                                         28   purpose of conforming its definition(s) of parties with the
                                                                              description of the class as certified in this order.


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                                                                          1   LCDs, 267 F.R.D. at 600.     "When common questions present a
                                                                          2   significant aspect of the case and they can be resolved for all
                                                                          3   members of the class in a single adjudication, there is clear
                                                                          4   justification for handling the dispute on a representative rather
                                                                          5   than on an individual basis."      Hanlon v. Chrysler Corp., 150 F.3d
                                                                          6   1011, 1022 (9th Cir. 1998).
                                                                          7        In "price-fixing cases, courts repeatedly have held that the
                                                                          8   existence of the conspiracy is the predominant issue and warrants
                                                                          9   certification even where significant individual issues are
                                                                         10   present."   Thomas & Thomas Rodmakers, Inc. v. Newport Adhesives &
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                                                                         11   Composites, Inc. ("Newport"), 209 F.R.D. 159, 167 (C.D. Cal. 2002).
                                                                         12   The issue of whether questions of law or fact common to class
                                                                         13   members predominate begins with the elements of the underlying
                                                                         14   cause of action.    Erica P. John Fund, Inc. v. Halliburton Co., 131
                                                                         15   S. Ct. 2179, 2184 (2011).     For antitrust cases, this requires: (1)
                                                                         16   a conspiracy to fix prices in violation of the antitrust laws
                                                                         17   ("conspiracy"); (2) an antitrust injury -- i.e., the impact of the
                                                                         18   defendants' unlawful activity ("impact"); and (3) damages caused by
                                                                         19   the antitrust violations ("damages").       LCDs, 267 F.R.D. at 600.
                                                                         20        DPPs argue that common questions predominate because they can
                                                                         21   establish that for each of the three prongs (conspiracy, impact,
                                                                         22   and damages), generalized proof is applicable to the class as a
                                                                         23   whole.   Mot. at 19.   DPPs present Dr. Leitzinger's expert report
                                                                         24   (submitted under seal) to support their contention that they can
                                                                         25   prove antitrust impact and damages on a classwide basis.
                                                                         26   Mitsubishi does not directly oppose the conspiracy prong, but does
                                                                         27   dispute the impact and damages prongs.       Mitsubishi also did not
                                                                         28   submit an expert report in response to Dr. Leitzinger, though they



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                                                                          1   did include another expert report (submitted under seal) responsive
                                                                          2   to the opinions of other experts on matters related to this case.
                                                                          3        The Court will review Dr. Leitzinger's report in depth
                                                                          4   (altering the order to better align with issues the Court is asked
                                                                          5   to address), then address each of the three prongs in turn, and
                                                                          6   finally conclude with a brief discussion of superiority.
                                                                          7              i.       Dr. Leitzinger's Report
                                                                          8        Dr. Leitzinger is an economist and a managing director at Econ
                                                                          9   One Research, Inc., an economic research and consulting firm.             ECF
                                                                         10   No. 2968-4 (Expert Report of Jeffrey J. Leitzinger ("Leitzinger
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                                                                         11   Report")) ¶ 1.28       He has a Ph.D. in economics from the University
                                                                         12   of California at Los Angeles, and for thirty-four years he has
                                                                         13   worked extensively on market analysis and the assessment of
                                                                         14   allegations of anticompetitive conduct, including a number of
                                                                         15   antitrust conspiracy cases.       Id.    In this case, Dr. Leitzinger
                                                                         16   reviewed evidence of the alleged conspiracy and then formed an
                                                                         17   opinion that there is evidence common to members of the proposed
                                                                         18   class that is sufficient to prove widespread impact.           Id. ¶ 6.
                                                                         19   This evidence involves:
                                                                         20        (1)        The broad extent of communication and cooperative
                                                                                              activities within the alleged conspiracy;
                                                                         21
                                                                                   (2)        Activities that would have assisted the alleged
                                                                         22                   conspiracy in constraining output of CRTs;
                                                                         23        (3)        The alleged conspiracy's control over the vast
                                                                                              majority of sales;
                                                                         24
                                                                                   (4)        Regression analysis showing prices of CRTs to be
                                                                         25                   largely determined by factors that are common to
                                                                                              Class Members;
                                                                         26
                                                                              28
                                                                         27     The DPPs filed two earlier reports from Dr. Leitzinger in this
                                                                              case, ECF Nos. 1825-1 and 2208-8, both related to DPP class
                                                                         28   certification. The Court considers only the expert reports filed
                                                                              in this motion, except as clearly incorporated by motion argument.


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                                                                          1           (5)    Jointly determined "Target Prices" for CRTs
                                                                                             representing the vast majority of total sales;
                                                                          2
                                                                                      (6)    Structural elements in CRT pricing that tended to
                                                                          3                  link prices for CRTs of different types and
                                                                                             sizes;
                                                                          4
                                                                                      (7)    Regression analysis showing that "Target Prices"
                                                                          5                  established thought the alleged conspiracy had a
                                                                                             demonstrable effect on actual prices paid; and
                                                                          6
                                                                                      (8)    The existence of other market characteristics
                                                                          7                  which would be expected as an economic matter to
                                                                                             cause the effects of conspiratorial behavior to
                                                                          8                  be felt broadly across customers.
                                                                          9   Id.
                                                                         10                         a.     Background
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                                                                         11           Before beginning any statistical analysis, Dr. Leitzinger
                                                                         12   first reviewed the background of CRTs, including their various uses
                                                                         13   over the years and technical descriptions of CRT products.               Id. ¶
                                                                         14   8-10.    Dr. Leitzinger next overviewed varieties of CRT products.
                                                                         15   He found "CRTs differed mainly by type of use, size, and display
                                                                         16   resolution, though other characteristics, such as shape, sometimes
                                                                         17   varied as well."           Id. ¶ 11.   Most CRTs sold during the Class Period
                                                                         18   were able to display color images.             While CDTs were used in
                                                                         19   computer monitors and devices like ATMs to accommodate higher
                                                                         20   resolution whereas CPTs were used in televisions to accommodate
                                                                         21   brighter screen, the basic technology of CDTs and CPTs is the same.
                                                                         22   Id.   The quality of viewing a CRT device is determined by many
                                                                         23   characteristics, most important of which are the screen size and
                                                                         24   resolution.         Id. ¶ 12.   CPTs were most commonly made in 14, 20, 21,
                                                                         25   and 29 inches, which comprised about 79 percent of sales during the
                                                                         26   class period.        CDTs were most commonly made in 14, 15, and 17
                                                                         27   inches, which comprised 91 percent of sales during the Class
                                                                         28   Period.       Id.



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                                                                          1         Next, Dr. Lietzinger turned to the CRT Defendants and co-
                                                                          2   conspirators.    Id. ¶ 13-14.    Of particular note, the first such
                                                                          3   large multinational corporation (or their subsidiaries) listed is
                                                                          4   Mitsubishi Entities, followed by various other co-conspirators
                                                                          5   listed herein.   Together, "[t]hese companies accounted for 85-100
                                                                          6   percent of CDT sales and 70-80 percent of CPT sales during the
                                                                          7   class period."   Id. ¶ 13.    Products were then sold to various
                                                                          8   manufacturers or redistributors to sell to third parties, or else
                                                                          9   used in-house in CRT products and sold to big-name retailors such
                                                                         10   as Best Buy, Wal-Mart, et cetera.         Id. ¶ 14.
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                                                                         11         Dr. Lietzinger then turned to tracing the history of CRTs.
                                                                         12   The CRT industry steadily grew though the end of the twentieth
                                                                         13   century, peaking in 1999 at a value of almost $20 billion.          Id. ¶
                                                                         14   15.   However, by the end of the class period, other display
                                                                         15   technologies had supplanted CRTs, for reasons Dr. Leitzinger
                                                                         16   examines, with notable shut-downs of CRT production by parent
                                                                         17   companies from 2005 to 2008.      Id. ¶ 16-18.
                                                                         18                    b.     Characteristics and Structural Factors
                                                                         19         Throughout his report, Dr. Leitzinger noted characteristics of
                                                                         20   the conspiracy and (what the parties call) structural factors that
                                                                         21   Dr. Leitzinger opines are evidence "indicative of anticompetitive
                                                                         22   activity that is broad in scope and multi-faceted in the manner in
                                                                         23   which it affects firm behavior," thus supporting his opinion that
                                                                         24   "impact of the alleged conspiracy would be felt broadly by CRT
                                                                         25   buyers."    Id. ¶ 26.   These characteristics and factors include:
                                                                         26         (1)   From 2000-2006, Defendants and co-conspirators
                                                                                          held close to 90 percent of the market, and 80-
                                                                         27               100 percent of the industry's capacity.      Id. ¶
                                                                                          20.      If    participants   could   collectively
                                                                         28               coordinate pricing decisions their control over


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                                                                          1             industry output would translate into industry-
                                                                                        wide price effects.   Moreover, a high degree of
                                                                          2             control would simplify coordination issues due to
                                                                                        little outside competitive presence to exert
                                                                          3             pressure on the alleged conspiracy's coordination
                                                                                        efforts. Id. ¶ 21.
                                                                          4
                                                                                  (2)   The conspiracy was global, and conspirators were
                                                                          5             cognizant of regional price levels which they
                                                                                        adjusted to keep in line with their global
                                                                          6             pricing strategy.    Prices in the United States
                                                                                        tracked with those elsewhere in the world. Id. ¶
                                                                          7             58-59, Figures 12-13.
                                                                          8       (3)   The conspiracy, which included dealings with
                                                                                        Mitsubishi and Thomson, was highly organized (per
                                                                          9             the structure of the Glass Meetings, regional
                                                                                        meetings) and ongoing for many years.           The
                                                                         10             information and organization from this scope,
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                                                                                        frequency,   and   depth    of  meetings   suggests
                                                                         11             extensive     communication    and     coordination
                                                                                        regarding     the     participants'     activities,
                                                                         12             facilitating close alignment among participants
                                                                                        with the goals of the alleged conspiracy and
                                                                         13             broad price impact. Id. ¶¶ 27-29, 31-34, 36.
                                                                         14       (4)   The   conspiracy   entered  into   and   enforced
                                                                                        restrictions on capacity and output, including
                                                                         15             allocation of market shares, price stabilization
                                                                                        efforts, which facilitated close alignment among
                                                                         16             the participants with the goals of the conspiracy
                                                                                        and would allow borad impact on prices.    Id. ¶¶
                                                                         17             28-29, n. 55, 36-37. See also id. 38-42.
                                                                         18       (5)   Barriers to entry into the CRT market were high,
                                                                                        including   high    market    entry   prices  and
                                                                         19             substantial excess capacity.     High barriers to
                                                                                        entry promote widespread impact because they
                                                                         20             discourage   new   competition   that   could de-
                                                                                        stabilize the conspiracy or create pockets of
                                                                         21             competitive pricing. Id. ¶¶ 60-63.
                                                                         22       (6)   Product differentiation among CRTs was limited to
                                                                                        a    relatively    small    number    of    major
                                                                         23             characteristics based on standardized product
                                                                                        specifications.     Combined with a structured
                                                                         24             pricing environment and the ability to produce
                                                                                        different products, Dr. Leitzinger found both
                                                                         25             economic and documentary evidence showing the
                                                                                        conspiracy would be expected to have influenced
                                                                         26             prices across the product spectrum.         Price
                                                                                        agreements for top selling CRTs in their base
                                                                         27             configuration would signal a corresponding set of
                                                                                        prices for other configurations for the same and
                                                                         28             other CRTs. Id. ¶¶ 52-54.


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                                                                          1        (7)     Defendants were easily able to obtain a high
                                                                                           level of information about their competitors,
                                                                          2                both publicly and as a result of the conspiracy.
                                                                                           This allowed the conspirators to readily identify
                                                                          3                attainable prices while also monitoring and
                                                                                           enforcing price-fixing activities. Id. ¶¶ 28-29,
                                                                          4                36. See also id. ¶ 53.
                                                                          5        (8)     Dr. Leitzinger's staff assembled a data set from
                                                                                           Glass Meeting documents which, despite certain
                                                                          6                gaps, allowed Dr. Leitzinger to find that
                                                                                           targeted CRTs accounted for 90 percent of CPTs
                                                                          7                and 98 percent of CDTs. Id. ¶¶ 43-44. He opined
                                                                                           that price targeting, if effective in influencing
                                                                          8                actual prices just for the targeted CRTs, would
                                                                                           have directly impacted products accounting for
                                                                          9                approximately 94 percent of CRT shipments during
                                                                                           the Class Period. Id. ¶ 44, Figure 7.
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                                                                         11                    c.    Statistical Analysis
                                                                         12        Dr. Leitzinger also performed extensive statistical analyses,
                                                                         13   which he opined shows classwide impact through common evidence and
                                                                         14   methodologies.    He analyzed pricing variation among CRT buyers over
                                                                         15   the 104 quarter Class Period, performing a series of hedonic
                                                                         16   regressions using a set of observable characteristics about CDTs
                                                                         17   and CPTs: size, widescreen, ITC or bare,29 transaction quantity,
                                                                         18   and brand.    Id. ¶¶ 22-25, Figure 5.      This analysis showed that most
                                                                         19   (96% for CPTs and 82% for CDTs) price variation among buyers is
                                                                         20   attributable to those product characteristics.          Id. ¶ 25.     This
                                                                         21   suggests that selective impacts were not the reason for observed
                                                                         22   price variability.
                                                                         23        Dr. Leitzinger later examined the effects of Defendants' price
                                                                         24   targets on actual prices from the data set described earlier.
                                                                         25   This included three (sets of) calculations.         He first looked to see
                                                                         26   whether target prices and actual prices moved together.              On a range
                                                                         27   29
                                                                                Integrated tube component (ITC) CRTs were sold with a deflection
                                                                         28   yoke, whereas those sold without a deflection yoke were called
                                                                              "bare" CRTs.


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                                                                          1   of 0 to 1 (low-to-high), the correlation coefficient was 0.98,
                                                                          2   indicating to Dr. Leitzinger that higher price targets were closely
                                                                          3   associated with higher actual prices.         Id. ¶ 47.   Second, Dr.
                                                                          4   Leitzinger analyzed the relationship between target prices and
                                                                          5   transaction prices, including multiple relevant factors and data
                                                                          6   drawn from regression models based on quarterly averages, actual
                                                                          7   prices, product differences, and supply and demand factors likely
                                                                          8   to have influenced prices -- represented separately for CDTs and
                                                                          9   CPTs.    He found a positive and 95% statistically significant
                                                                         10   relationship between target prices and actual prices, separate and
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                                                                         11   apart from market factors.      Id. ¶ 48, Figure 8.       Third, Dr.
                                                                         12   Leitzinger showed results of target price regressions estimated
                                                                         13   separately for North-American sales and sales elsewhere.             The
                                                                         14   results showed with a high degree of statistical significance that
                                                                         15   target prices developed pursuant to the conspiracy resulted in
                                                                         16   higher CRT prices in both North America and the rest of the world.
                                                                         17   Id. ¶ 49, Figure 9.
                                                                         18           Dr. Leitzinger also considered impact on the CRT
                                                                         19   configurations for which he was not able to find price targets (1.8
                                                                         20   percent of CDT shipments and 9.8 percent of CPT shipments).            He
                                                                         21   examined qualitative evidence drawn from DPP's discovery efforts
                                                                         22   crossed with economic theory.       The qualitative evidence included an
                                                                         23   analysis of how CPTs and CDTs were in some ways similar or
                                                                         24   otherwise related.     Id. ¶ 51-52.30      Dr. Leitzinger expressly notes
                                                                         25   that CPTs and CDTs were manufactured using the same basic
                                                                         26   production process, that they could be (and were) produced on the
                                                                         27
                                                                              30
                                                                         28     The Court goes into detail here as this directly relates to
                                                                              several arguments made by Mitsubishi.


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                                                                          1   same production lines, and that product differentiation was largely
                                                                          2   a matter of size and performance metrics that each manufacturer was
                                                                          3   capable of producing.      There were even standardized product
                                                                          4   specifications that all manufacturers used.         Dr. Leitzinger also
                                                                          5   noted that production facilities often produced a mix of products
                                                                          6   configured for different applications, and production was so
                                                                          7   flexible configurations could be changed in some cases the same day
                                                                          8   to accommodate short term needs.       Accordingly, price differences
                                                                          9   between CRTs of different characteristics that were not cost-
                                                                         10   related would be expected, as matter of economic theory, to favor
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                                                                         11   more profitable configurations, pressuring the market to re-align
                                                                         12   prices accordingly.      Therefore, Dr. Leitzinger concluded that
                                                                         13   prices across CRT configurations would be economically linked over
                                                                         14   time.31   Id. ¶ 51-52.    He further concluded that, due to the
                                                                         15   structured pricing environment and the level of attention given to
                                                                         16   relationships between prices and demands of differing CRT products,
                                                                         17   the conspiracy would influence prices across the product spectrum.
                                                                         18   Id. ¶ 53-54.
                                                                         19        Dr. Leitzinger also performed a correlation analysis of the
                                                                         20   prices over time for top-selling CDTs and CPTs, determining that
                                                                         21   all of these prices were highly correlated.32         Id. ¶ 55, Figure 10.
                                                                         22   He then performed a correlation analysis of targeted CRT products
                                                                         23   and non-targeted products, finding a clear correlation (correlation
                                                                         24   31
                                                                                 Dr. Leitzinger cites as support documents which were largely
                                                                         25   provided (in whole or in excerpts) by the parties and which the
                                                                              Court has separately reviewed.
                                                                              32
                                                                         26      Dr. Leitzinger calculated his correlations using Fisher Matched-
                                                                              Model price indexes, which are designed to measure price changes in
                                                                         27   a group of products accounting for changes in the composition of
                                                                              sales among different products. Leitzinger Report n. 122. The
                                                                         28   plaintiffs' expert in TFT-LCDs also used matched model price-index
                                                                              analyses. See TFT-LCDs, 267 F.R.D. at 312.


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                                                                          1   coefficient often exceeding 0.8, which, weighted by sales dollars,
                                                                          2   averaged to a correlation coefficient of 0.93) across major
                                                                          3   products.   Id. ¶ 57, Figure 11.      Based on the qualitative and
                                                                          4   statistical evidence, Dr. Leitzinger concluded that price targeting
                                                                          5   would likely have impacted these other CRTs as well.           Id. ¶ 50.
                                                                          6                    d.    Damages
                                                                          7        Dr. Leitzinger also examined overcharges that resulted from
                                                                          8   the conspiracy, including costs to both true direct purchasers and
                                                                          9   to indirect purchasers who are nonetheless part of the DPP class.
                                                                         10        The first method used, a "before/after" analysis,33 compares
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                                                                         11   pricing during the period of the conspiracy to pricing before
                                                                         12   and/or afterwards.     Id. ¶ 64.    Dr. Leitzinger conducted a
                                                                         13   regression analysis of the relationship between CRT prices, market
                                                                         14   demand and supply variables, and the presence of the conspiracy to
                                                                         15   provide an estimate of the impact of the alleged conspiracy on
                                                                         16   prices while holding constant supply-demand effects.           This "reduced
                                                                         17   form" model is widely used by economists.         Id. ¶¶ 64-65.34     Dr.
                                                                         18   Leitzinger found demand and supply factors explained almost all
                                                                         19   variability in CRT prices, and that there were positive and highly
                                                                         20   statistically significant coefficient variables for the conspiracy
                                                                         21   indicators.    Together these indicate that the conspiracy elevated
                                                                         22   CRT prices independent of the demand and supply factors.             Id. ¶ 70,
                                                                         23   Figure 14.35   Dr. Leitzinger used that information from the
                                                                         24   33
                                                                                 The difference between prices actually charged for CRTs during
                                                                         25   the Class Period and prices in a "but for" world is sometimes
                                                                              called the "usual measure" of damages. This is a common damages
                                                                         26   calculation method. See, e.g., TFT-LCDs, 267 F.R.D. at 312, n. 13.
                                                                              34
                                                                                 Dr. Leitzinger also details the methodology used to determine
                                                                         27   the proper "before" and "after" periods and the inclusion of other
                                                                              related variables. Leitzinger Report, ¶¶ 66-69.
                                                                              35
                                                                         28      Dr. Leitzinger was able to run this analysis for all types of
                                                                              CRTs in a single data set. Dr. Leitzinger expressly noted there


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                                                                          1   regression models to show average actual prices of CDTs and CPTs
                                                                          2   versus the prices as they are estimated but-for the conspiracy.
                                                                          3   Id. ¶ 71, Figures 15-16.     He concluded that the conspiracy effect
                                                                          4   ranged from 0.1 percent to 10.5 percent for CDTs and from 0.2
                                                                          5   percent to 8.3 percent for CPTs.      Id. ¶ 72.
                                                                          6         The second model used was a regression model examining the
                                                                          7   statistical relationship between CRT prices and CRT product prices.
                                                                          8   The CRT is the most costly input in CRT monitors and TVs,
                                                                          9   accounting for "40 to 50 percent of the cost of manufacturing the
                                                                         10   finished product and up to 70% of the cost materials."          Id. ¶ 79.
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                                                                         11   Thus Dr. Leitzinger expected to see a correlation, based on his
                                                                         12   review of economic academic theory and evidence in this case.         See
                                                                         13   id. ¶¶ 74-78.   The method for this regression analysis was a
                                                                         14   "reduced form" model similar to the one previously described, and
                                                                         15   Dr. Leitzinger again listed and explained the variables he used.
                                                                         16   Id. ¶¶ 79-80.   He found that the coefficient indicates that
                                                                         17   increases in CRT prices resulted in increases in finished product
                                                                         18   prices both for CDTs and CPTs.      Id. ¶ 81.    For CPTs, a one percent
                                                                         19   price increase was associated, on average, with a 0.78 percent
                                                                         20   increase in the finished product, whereas for CDTs a one percent
                                                                         21   ///
                                                                         22   ///
                                                                         23
                                                                         24   was a "prospect that there are common elements in CRT pricing
                                                                              across models for a given manufacturer in a given quarter, with
                                                                         25   variability across models largely as the result of the differences
                                                                              in configurations." Id. n. 158. He therefore used a method to
                                                                         26   treat the experience across all models sold by a given manufacturer
                                                                              in a given quarter in a single observation, resulting in more
                                                                         27   conservative measures of statistical strength. Id. Careful review
                                                                              of Figure 14 shows that the regression analysis accounted
                                                                         28   separately for CDT and CPT conspiracy indicators and sales, though
                                                                              the final observations and R-squared were joint.


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                                                                          1   increase was associated, on average, with a 0.72 percent increase
                                                                          2   in the finished product price.36       Id.
                                                                          3           Using the overcharge estimates provided, Dr. Leitzinger
                                                                          4   proposed that classwide overcharges could be calculated.             He could
                                                                          5   take the CRT sales data and calculate sales by Defendants and co-
                                                                          6   conspirators to class members for each year, and then apply the
                                                                          7   overcharge percentages for each type of CRT per year to get the
                                                                          8   overcharge amount associated with each type of CRT each year.            Id.
                                                                          9   ¶ 82.    In the same manner, he could compute the damages to
                                                                         10   purchasers of CRT finished products.         To do so, Dr. Leitzinger
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                                                                         11   would calculate the average annual dollar overcharge for a given
                                                                         12   CRT and multiply it by the corresponding units of CRT finished
                                                                         13   product sales for the class members.         Adding totals across products
                                                                         14   over time would yield the total damages.         Id. ¶ 83.
                                                                         15             ii.     Conspiracy
                                                                         16           DPPs allege that proof of the price-fixing scheme includes all
                                                                         17   the underlying cause(s) of action.         Thus, if required of them, each
                                                                         18   class member would show that Defendants and their co-conspirators
                                                                         19   organized, operated, and participated in a global price-fixing
                                                                         20   scheme.    The evidence would be the same for each, including the
                                                                         21   number and frequency of Glass Meetings, documentary and testimony
                                                                         22   evidence related thereto, and other efforts by employees to price-
                                                                         23   fix.    Mot. at 19-20.   Mitsubishi does not challenge this prong.
                                                                         24   Upon its own inquiry, the Court is satisfied that the quantity and
                                                                         25   quality of the evidence supports by a preponderance of the evidence
                                                                         26
                                                                              36
                                                                         27     Dr. Leitzinger gave a helpful illustration: "if a          $100 CPT
                                                                              increased in price to $101 (i.e. 1 percent), a $200          TV containing
                                                                         28   that tube would be expected to increase in price by          $1.56 (i.e.
                                                                              0.78 percent of the $200 finished product price)."           Id. ¶ 81.


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                                                                          1   that there was a price-fixing scheme and its existence and
                                                                          2   operations would be a question common to all class members.          Thus
                                                                          3   DPPs meet the conspiracy prong.
                                                                          4          iii.        Impact
                                                                          5                 For impact in an antitrust case, the Court must determine
                                                                          6   whether the DPPs have shown a reasonable method for determining, on
                                                                          7   a classwide basis, the alleged antitrust activity's impact on class
                                                                          8   members.   See LCDs, 267 F.R.D. at 601; see also DRAM, 2006 U.S.
                                                                          9   Dist. LEXIS 39841 at *44-45, 2006 WL 1530166 at *9.           This is a
                                                                         10   question of methodology, not merit.         See DRAM, 2006 U.S. Dist.
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                                                                         11   LEXIS 39841 at *44-48, 2006 WL 1530166 at *9.          The DPPs must make
                                                                         12   an evidentiary case for predominance, which the Court must analyze
                                                                         13   rigorously, Comcast, 133 S. Ct. at 1431; Amgen, 133 S. Ct. at 1196;
                                                                         14   Dukes, 131 S. Ct. at 2551,37 but the Court cannot undertake a full
                                                                         15   merits analysis at this point, and should avoid engaging in a
                                                                         16   battle of the experts.      See Amgen, 133 S. Ct. at 1194-95; DRAM,
                                                                         17   2006 U.S. Dist. LEXIS 39841 at *45, 2006 WL 1530166 at *9.
                                                                         18        DPPs suggest that the key question is whether plaintiffs have
                                                                         19   demonstrated that there is a way to prove a classwide measure of
                                                                         20   impact through generalized proof.          See TFT-LCDs, 267 F.R.D. at 313;
                                                                         21   In re Online DVD Rental Antitrust Litig., No. M 09-2029 PJH, 2010
                                                                         22   U.S. Dist. LEXIS 138558, *62, 2010 WL 5396064, *10 (N.D. Cal. Dec.
                                                                         23   23, 2010) aff'd sub nom. In re Online DVD-Rental Antitrust Litig.,
                                                                         24   779 F.3d 934 (9th Cir. 2015).       DPPs cite to three such offerings:
                                                                         25   37
                                                                                Due in part to these cases, the Court does not merely rely on
                                                                         26   its earlier decisions granting class certification within this case
                                                                              but undergoes a new analysis. Even so, in undergoing this new
                                                                         27   analysis, the Court is mindful of its earlier findings of impact
                                                                              and damages to IPPs, some of which required showings of impact and
                                                                         28   damages to DPPs. See Order of the Court dated September 24, 2013,
                                                                              ECF No. 1950.


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                                                                          1   contemporaneous evidence of classwide impact, statistical evidence
                                                                          2   of classwide harm found by expert economist Dr. Leitzinger, and
                                                                          3   classwide impact based on the structure of the CRT market given the
                                                                          4   operation of the CRT conspiracy.      Mot. at 21.     Mitsubishi disputes
                                                                          5   all three claims.    First, Mitsubishi argues there is no classwide
                                                                          6   proof of impact because the alleged "contemporaneous evidence" is
                                                                          7   not common for all members as a result of the differences between
                                                                          8   CDTs and CPTs.   Second, Mitsubishi argues Dr. Leitzinger's
                                                                          9   statistical evidence does not show any meaningful correlation
                                                                         10   between CPT and CDT prices per commonality arguments made earlier,
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                                                                         11   and therefore lack predominance.      Third, Mitsubishi attacks the
                                                                         12   argument that classwide impact flows in part from the "structure of
                                                                         13   the CRT market and the operation of the CRT conspiracy," noting
                                                                         14   that such arguments fail where products do not have structural
                                                                         15   factors that generate classwide impact.        The Court disagrees with
                                                                         16   Mitsubishi, and for the reasons below finds that DPPs have
                                                                         17   adequately shown impact.
                                                                         18        Mitsubishi argues there is no classwide proof of impact
                                                                         19   because the alleged "contemporaneous evidence" is not common for
                                                                         20   all members as a result of the differences between CDTs and CPTs.
                                                                         21   Opp'n at 17.   The Court agrees there may be real differences
                                                                         22   between the products and the methodology required to prove the
                                                                         23   specific, actual loss suffered due to the impact of the conspiracy
                                                                         24   on each of the products.     However, DPPs put forward evidence (as
                                                                         25   reviewed by Dr. Leitzinger) suggesting that all but a small
                                                                         26   fraction of the CRT market was impacted, that the conspiracy's
                                                                         27   price goals were achieved a significant portion of the time, and
                                                                         28   that conspirators were effective at monitoring and enforcing



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                                                                          1   conspiratorial agreements.      See Mot. at 21-22.      Given a conspiracy
                                                                          2   of such magnitude, that was so successful, and was able to self-
                                                                          3   enforce, the distinction between impact on the sub-markets of CDTs
                                                                          4   and CPTs does not create individualized issues at a methodological
                                                                          5   level sufficiently significant to overcome the fairness and
                                                                          6   efficiency of addressing the two together.         Moreover, the means of
                                                                          7   proof required and the evidence expected to be presented at trial
                                                                          8   will largely be the same for both products, with only minimally
                                                                          9   differing documentation and associated numerical impact near the
                                                                         10   end of the analysis.38     Thus the Court finds the "contemporaneous
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                                                                         11   evidence" has the ability to show impact through common evidence
                                                                         12   and methods.
                                                                         13        Mitsubishi encourages the Court to consider Funeral Consumers
                                                                         14   Alliance, Inc. v. Service Corp. Int’l ("Funeral Consumers"), 695
                                                                         15   F.3d 330, 348-49 (5th Cir. 2012) for the proposition that
                                                                         16   individualized issues predominate where "plaintiffs fail to explain
                                                                         17   how statements made by one associate in one area of the country
                                                                         18   equates to a nationwide conspiracy."        However, a proper
                                                                         19   understanding of Funeral Consumers is that in determining
                                                                         20   predominance, individualized issues take on greater force where
                                                                         21   there is no national market or nationwide conspiracy.           Id. at 348.
                                                                         22   Funeral Consumers focused on the inability of the plaintiffs to
                                                                         23   38
                                                                                Even if DPPs were forced into two separate classes -- one for
                                                                         24   CPTs and one for CDTs -- the Court could easily envision a trial
                                                                              strategy wherein DPPs, to maximize their claims for damages, in
                                                                         25   each case attempt to introduce exactly the same evidence of CPT and
                                                                              CDT damages to emphasize the degree of market control, the extent
                                                                         26   of impact, and the pervasive nature of the conspiracy. The Court
                                                                              is neither suggesting this strategy nor ruling upon its viability
                                                                         27   under applicable evidence rules; rather, the intuitive appeal of
                                                                              such a methodology underscores why there is such a strong trend to
                                                                         28   finding predominance (and impact) in price-fixing cases upon proof
                                                                              of just the conspiracy. See, e.g., Newport, 209 F.R.D. at 167.


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                                                                          1   establish a conspiracy, to show that the conspiracy was prevalent
                                                                          2   (they owned less than 10% of funeral homes in the United States and
                                                                          3   sold only 45% of caskets in the United States), or that it had
                                                                          4   consistent effect, execution, or impact from state to state.          Id.
                                                                          5   348-49.    Here, DPP's evidence shows and Dr. Leitzinger expressly
                                                                          6   discussed how this conspiracy was global, controlling almost the
                                                                          7   entire market internationally, with consistent price inflation
                                                                          8   attributable directly to the conspiracy.         This evidence defeats
                                                                          9   both the limited purpose for which Mitsubishi cited Funeral
                                                                         10   Consumers and Mitsubishi's more general concern that individualized
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                                                                         11   issues predominate (and thus preclude impact) in spite of proof
                                                                         12   that there was such a pervasive, all inclusive conspiracy.
                                                                         13          Next, Mitsubishi asserts Dr. Leitzinger's statistical evidence
                                                                         14   does not show any meaningful correlation between CPT and CDT prices
                                                                         15   per commonality arguments made earlier.         The Court notes that the
                                                                         16   very paragraph Mitsubishi's earlier commonality argument39 cites
                                                                         17   specifies that this conclusion is what is "expected as an economic
                                                                         18   matter."    Leitzinger Report, ¶ 52.       Thus it appears Dr. Leitzinger
                                                                         19   is applying an economic theory to facts to yield a specific
                                                                         20   conclusion which may be accepted or rejected at trial.           Mitsubishi
                                                                         21   does not attack this at a methodological level but a factual one.
                                                                         22   The attempt to use Dr. Leitzinger's own work against him, citing
                                                                         23   how his own statistical analysis analyzes CPTs and CDTs separately,
                                                                         24   does not rebut the application of economic theory.           See Opp'n at
                                                                         25   15.    The Court does not doubt that there are differences between
                                                                         26   CPTs and CDTs which Mitsubishi may be able to show at trial, as
                                                                         27   addressed in connection with commonality.         However, as a
                                                                         28   39
                                                                                   Opp'n at 15-16.


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                                                                          1   methodological matter, Dr. Leitzinger's report included at least
                                                                          2   one statistic potentially showing a correlation between CPTs and
                                                                          3   CDTs,40 whereas Mitsubishi did not submit any expert analysis
                                                                          4   showing a lack thereof or showing why economic theory or statistics
                                                                          5   could never support such a conclusion.        Therefore, the Court sees
                                                                          6   no methodological problem41 with Dr. Leitzinger applying his expert
                                                                          7   knowledge of economics to anticipate a potential correlation,
                                                                          8   especially when that correlation was supported by deposition
                                                                          9   testimony he reviewed (and quoted) in direct connection with this
                                                                         10   speculative conclusion.      See Leitzinger Report, ¶ 53 (citing what
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                                                                         11   has been provided to the Court as DPP Ex. 31, 18-20 (labeled page
                                                                         12   296-98)).
                                                                         13        Mitsubishi then attacks the argument that classwide impact
                                                                         14   flows in part from the "structure of the CRT market and the
                                                                         15   operation of the CRT conspiracy," noting that such arguments fail
                                                                         16   where products do not have structural factors that generate
                                                                         17   classwide impact.     In support, Mitsubishi primarily relies on In re
                                                                         18   Graphics Processing Units Antitrust Litig. ("GPU"), 253 F.R.D. 478,
                                                                         19   489, 491 (N.D. Cal. 2008).      GPU dealt with a conspiracy to fix
                                                                         20   prices of graphic processing units that were mounted on graphic
                                                                         21   chips and cards, which were in turn used in game consoles, laptops,
                                                                         22   mobile devices and other products.         A very large percentage of
                                                                         23   graphic cards and chips were individually customized for a
                                                                         24   particular customer or application.        The "overwhelming majority" of
                                                                         25   wholesale purchases of hundreds of types of chips and cards were
                                                                         26   40
                                                                                Leitzinger Report, ¶ 55, Figure 10.
                                                                              41
                                                                         27     While the Court may hesitate to find it sufficient if presented
                                                                              as the sole methodology, here it is one of many that Dr. Leitzinger
                                                                         28   employs. The Court does not opine on the accuracy of Dr.
                                                                              Leitzinger's conclusion or whether it would prevail on the merits.


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                                                                          1   individually negotiated, the ultimate price depending on the
                                                                          2   volume, market power of the purchaser, degree of customization, and
                                                                          3   many other factors.     Here, customization was far more limited,
                                                                          4   there are far fewer types of CRT products at issue and wholesale
                                                                          5   purchases were rarely negotiated individually.          GPU also did not
                                                                          6   include guilty pleas or ongoing criminal investigations (thus
                                                                          7   lacking "extrinsic evidence of harm") and the products involved in
                                                                          8   GPU were customized and not fungible.        See LCDs, 267 F.R.D. at 605
                                                                          9   (distinguishing GPU).42     Therefore, the Court finds Mitsubishi's
                                                                         10   reliance on GPU unpersuasive.43       Moreover, contrary to Mitsubishi's
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                                                                         11   claims, DPPs do not merely rely on vague structural factors but
                                                                         12   provide expert analysis and statistical methodology to turn the raw
                                                                         13   market data into a working formula for damage determinations while
                                                                         14   discounting non-conspiracy factors which would otherwise cause
                                                                         15   prices to fluctuate.     The Court's review of structural factors
                                                                         16   presented by Dr. Lietzinger shows, by a preponderance of the
                                                                         17   evidence, that structural issues could be shown at trial to have
                                                                         18   generated class impact.
                                                                         19        Thus the Court finds DPPs have shown impact for predominance.
                                                                         20           iv.      Damages
                                                                         21        The Court finds DPPs have sufficiently shown a methodology of
                                                                         22   establishing damages.      As a threshold matter, the Court has already
                                                                         23   reached this conclusion as a necessary finding for certifying the
                                                                         24   IPP class, wherein a pass-through theory required the Court to
                                                                         25
                                                                              42
                                                                         26      See also Report and Recommendation dated June 20, 2013, ECF No.
                                                                              1743; Report and Recommendation dated June 20, 2013, ECF No. 1742.
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                                                                         27      Mitsubishi's reliance on Gitto/Global Corp. v. Rohm & Haas Co.
                                                                              (In re Plastics Additives Antitrust Litig.), No. 03-CV-2038, 2010
                                                                         28   U.S. Dist. LEXIS 90135, *26, 2010 WL 3431837, *6-7 (E.D. Pa. Aug.
                                                                              31, 2010) is similarly unavailing, for largely the same reasons.


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                                                                          1   directly consider and rule upon whether methodology had shown
                                                                          2   damages for the DPPs (damages which in turn were then passed along
                                                                          3   in whole or in part to the IPPs).         The Court reaffirms its ruling,
                                                                          4   adopts its former reasoning and that of the Interim Special Master
                                                                          5   as presented in the related Report and Recommendation.          See Order
                                                                          6   of the Court dated September 24, 2013, ECF No. 1950; Report and
                                                                          7   Recommendations dated June 20, 2013, ECF No. 1742.          Even so, were
                                                                          8   the Court to be addressing the matter here for the first time, the
                                                                          9   Court would still find DPPs have provided a methodology sufficient
                                                                         10   to establish damages.
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                                                                         11        Insofar as Mitsubishi's attack can be construed as a
                                                                         12   methodological attack on using averages (which do not, by their
                                                                         13   nature, account for the differences stressed by Mitsubishi), the
                                                                         14   Court is still not convinced.      As has been previously noted in this
                                                                         15   case, attacking averaged data is a standard defense tactic in
                                                                         16   antitrust cases, so it is unsurprising that courts have often
                                                                         17   evaluated and approved the appropriate use of averages.             See ECF
                                                                         18   No. 1743 at 16.   Further, the Ninth Circuit has recognized that the
                                                                         19   use of aggregate data in regression analysis is often appropriate
                                                                         20   "where [a] small sample size may distort the statistical analysis
                                                                         21   and may render any findings not statistically probative."            Paige v.
                                                                         22   California, 291 F.3d 1141, 1148 (9th Cir. 2002) (amended).            In such
                                                                         23   a case, the use of "aggregate numbers" may "allow for a [more]
                                                                         24   robust analysis and yield more reliable and more meaningful
                                                                         25   statistical results."     Ellis v. Costco Wholesale Corp., 285 F.R.D.
                                                                         26   492, 523 (N.D.Cal.2012), appeal dismissed (Jan. 16, 2013).            See
                                                                         27   also In re High-Tech Emp. Antitrust Litig., 289 F.R.D. 555, 580
                                                                         28   (N.D. Cal. 2013).    The Court finds that the DPPs have presented a



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                                                                          1   functioning model tailored to the facts of the case, using
                                                                          2   aggregate data to produce a coherent, efficient model based on the
                                                                          3   available data, and avoiding the risk of using overly granular data
                                                                          4   sets that would have produced unreliable or statistically
                                                                          5   meaningless data.    See id.
                                                                          6        Primarily, however, Mitsubishi seems to present a more nuanced
                                                                          7   argument that differences in the nature of the various class
                                                                          8   members precludes common proof of damages.        Yet "[th]e presence of
                                                                          9   individualized damages cannot, by itself, defeat class
                                                                         10   certification under Rule 23(b)(3)."       Leyva v. Medline Indus., 716
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                                                                         11   F.3d 510, 514 (9th Cir. 2013).      In Leyva, a district court abused
                                                                         12   its discretion by denying class certification where the primary
                                                                         13   differences among class members rested in damages for each person
                                                                         14   in the 500 member class who was shortchanged in different amounts
                                                                         15   by a company’s rounding or bonus pay policies.         Id. at 513.   Here,
                                                                         16   with likely far more class members, the only major differences
                                                                         17   cited by Mitsubishi are those between the different types of
                                                                         18   products purchased (CDTs vice CPTs, sizes, etc.).         Opp'n at 20.
                                                                         19   Some of these are the types of variances that Dr. Leitzinger's
                                                                         20   analysis is able to largely discount as he shows a generalized
                                                                         21   methodology showing the degree to which the conspiracy caused
                                                                         22   common harm to all Plaintiffs.      Where his formula cannot discount
                                                                         23   the differences (as with CDTs and CPTs), Dr. Leitzinger is able to
                                                                         24   slightly tweak the data or add a single extra calculation into the
                                                                         25   same, existing regression model.      This latter circumstance does not
                                                                         26   mean damages are not commonly shown, only that there is some nuance
                                                                         27   to the damages resulting from the same one global conspiracy proved
                                                                         28   by common evidence and damages distributed by common regression



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                                                                          1   models.   To separate each subgroup of damaged product purchasers
                                                                          2   into separate classes would create more burden on the Court rather
                                                                          3   than less, and would be the death knell of class actions which
                                                                          4   Leyva seeks to avoid.     Leyva, 716 F.3d at 514.      Moreover, the Court
                                                                          5   has already ruled, in accordance with Royal Printing, that DPPs are
                                                                          6   permitted to sue for the entire overcharge, eliminating most if not
                                                                          7   all individualized concerns.      See Order of the Court dated November
                                                                          8   29, 2012, ECF No. 1470 at 21.
                                                                          9        To the extent that Mitsubishi relies on In re Rail Freight
                                                                         10   Fuel Surcharge Antitrust Litigation, 725 F.3d 244 (D.C. Cir. 2013),
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                                                                         11   to support discounting Dr. Leitzinger's model and thus not certify
                                                                         12   the class, the Court is not convinced.       In Rail Freight, a group of
                                                                         13   railway shippers sued four major freight railroads for imposing
                                                                         14   rate-based fuel surcharges on shipments over their tracks, alleging
                                                                         15   that the railroads had fixed surcharge prices.         The plaintiffs
                                                                         16   presented a model that attempted to account for the fact that
                                                                         17   certain plaintiffs -- "legacy plaintiffs" -- paid rates under
                                                                         18   contracts they entered with the railway companies years before the
                                                                         19   class period.   Id. at 252-53.      Bizarrely, the plaintiffs' damages
                                                                         20   model in that case returned the result that the legacy plaintiffs
                                                                         21   had been injured by the alleged price-fixing, an obviously
                                                                         22   erroneous outcome given that the prices they paid were fixed by
                                                                         23   pre-conspiracy contracts.     Id.   The D.C. Circuit rightly vacated
                                                                         24   the district court's class certification decision because the lower
                                                                         25   court had certified the class where the damages model that was
                                                                         26   inextricably linked to plaintiffs' argument for common proof was
                                                                         27   obviously flawed.    Id. at 253, 255.     Here, the Court sees no such
                                                                         28   glaring error, and Plaintiffs' statistics appear to be sound.



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                                                                          1   Mitsubishi failed to show how the model Dr. Leitzinger presented
                                                                          2   exhibits false positives.
                                                                          3        The Court also reviewed the "Expert Report of Dov Rothman,
                                                                          4   Ph.D." ("Rothman Report") submitted by Mitsubishi.44          While the
                                                                          5   issues raised therein clearly relate to this case, the Court found
                                                                          6   the document non-responsive to the report by Dr. Leitzinger,
                                                                          7   rebutting the opinions of other experts whose testimony is not
                                                                          8   presently before the Court.       The Rothman Report's two principle
                                                                          9   critiques are:    (1) that plaintiffs' experts provide insufficient
                                                                         10   economic basis for linking Mitsubishi to the CRT conspiracy; and
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                                                                         11   (2) that plaintiffs' experts presented no evidence that plaintiffs
                                                                         12   paid overcharges on purchased of CRTs from Mitsubishi (vice any
                                                                         13   other conspirator).     Rothman Report ¶ 5.45
                                                                         14        Even had Dr. Rothman's report been directly responsive to Dr.
                                                                         15   Leitzinger's latest report and even if both Dr. Rothman's concerns
                                                                         16   remained valid, the Court is still not tasked with resolving
                                                                         17   conflicts between opposing experts when evaluating predominance.
                                                                         18   See Amgen, 133 S. Ct. at 1194-96; DRAM, 2006 U.S. Dist. LEXIS 39841
                                                                         19   at *45, 2006 WL 1530166 at *9.       In analyzing the arguments of DPPs,
                                                                         20   Mitsubishi, and related experts of each, the Court reiterates that
                                                                         21   its task at this stage is simple: it must determine whether the
                                                                         22   DPPs have made a sufficient showing that the evidence they intend
                                                                         23   to present concerning antitrust impact will be made using
                                                                         24   44
                                                                                ECF No. 3708-10 (filed under seal).
                                                                              45
                                                                         25     The Court will not address Dr. Rothman's critiques as applied to
                                                                              other experts upon whom DPPs do not rely for this motion. Insofar
                                                                         26   as Dr. Rothman's concerns might apply to Dr. Leitzinger's report,
                                                                              the Court notes Dr. Leitzinger has cited a substantial amount of
                                                                         27   evidence and economic theory to rebut both concerns -- possibly
                                                                              after taking Dr. Rothman's critiques into account. However, the
                                                                         28   Court need not and does not make a finding here for the reasons
                                                                              that immediately follow.


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                                                                          1   generalized proof common to the class, and that these common issues
                                                                          2   will predominate.    DRAM, 2006 U.S. Dist. LEXIS 39841 at *44-45,
                                                                          3   2006 WL 1530166 at *9; TFT-LCDs, 267 F.R.D. at 313.          The Court only
                                                                          4   analyzes questions of methodology at this point.         Merits questions
                                                                          5   are for the finder of fact.
                                                                          6        The Court finds that the DPPs' presentation of their
                                                                          7   methodology for determining antitrust damages on a classwide basis
                                                                          8   is plausible.    Dr. Leitzinger's report is supported by both
                                                                          9   documentary facts and industry data, his approach to determining
                                                                         10   whether Mitsubishi was part of the conspiracy or sold CRT products
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                                                                         11   in connection therewith is based on factual review of evidence
                                                                         12   produced by DPPs in discovery, and his use of regression and
                                                                         13   correlation analysis is well established as a means of providing
                                                                         14   classwide proof of antitrust injury and damages.         See, e.g., TFT-
                                                                         15   LCDs, 267 F.R.D. at 313 (citing cases).        Insofar as Mitsubishi
                                                                         16   provides any expert analysis for the Court to consider, the issues
                                                                         17   raised are not methodological challenges but rather merits-based
                                                                         18   issues properly left for trial.
                                                                         19        The Court is therefore satisfied that DPPs have shown by a
                                                                         20   preponderance of the evidence that there is a viable methodology
                                                                         21   DPPs could present at trial to show damages (irrespective of
                                                                         22   whether such a methodology would ultimately succeed).
                                                                         23           v.       Superiority
                                                                         24        As part of the predominance analysis, DPPs must also
                                                                         25   demonstrate that a class action is "superior to other available
                                                                         26   methods for fairly and efficiently adjudicating the controversy."
                                                                         27   Rule 23(b)(3).   DPPs do so demonstrate.       See Mot. at 25.
                                                                         28   Mitsubishi does not separately challenge the superiority of



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                                                                          1   proceeding as a class, and insofar as its arguments may be relevant
                                                                          2   they have been addressed above.
                                                                          3         Per Rule 23 and upon review of the evidence presented, the
                                                                          4   Court finds: (1) that class members have an interest in ceding
                                                                          5   individual control of the prosecution or defense of separate
                                                                          6   actions; (2) the extent and nature of the litigation against
                                                                          7   defendants is extensive beyond the means of most individual
                                                                          8   plaintiffs; (3) concentrating the litigation in the particular
                                                                          9   forum is desirable both to expedite review of claims and in
                                                                         10   accordance with the direction of the Judicial Panel on
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                                                                         11   Multidistrict Litigation; and (4) the difficulties in managing a
                                                                         12   class action will be relatively few, and certainly far fewer than
                                                                         13   attempting to consider as individual cases the many claims that
                                                                         14   would otherwise result from this litigation.         See Rule 23(b)(3).
                                                                         15   The Court also notes that continuing in the form of a class action
                                                                         16   will promote judicial efficiency, is likely the only means of
                                                                         17   recovery for many plaintiffs whose recovery would otherwise be too
                                                                         18   low to justify the cost of individual litigation, and there seems
                                                                         19   to be little disagreement among the proposed class regarding
                                                                         20   whether class treatment would be beneficial.         See Local Joint
                                                                         21   Executive Bd. of Culinary/Bartender Trust Fund v. Las Vegas Sands,
                                                                         22   Inc., 244 F.3d 1152, 1163 (9th Cir. 2001); Valentino v. Carter-
                                                                         23   Wallace, Inc., 97 F.3d 1227, 1234-35 (9th Cir. 1996); LCDs, 267
                                                                         24   F.R.D. at 608 (quoting SRAM, 2008 U.S. Dist. LEXIS 107523 at *49,
                                                                         25   2008 WL 447592 at *7) ("[i]n antitrust cases such as this, the
                                                                         26   damages of individual direct purchasers are likely to be too small
                                                                         27   to justify litigation, but a class action would offer those with
                                                                         28   ///



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                                                                          1   small claims the opportunity for meaningful redress.").             Therefore,
                                                                          2   the superiority requirement is met.
                                                                          3        Accordingly, the Court finds that DPPs have carried their
                                                                          4   burden on predominance under Rule 23(b)(3).
                                                                          5
                                                                          6   V.   CONCLUSION
                                                                          7        Upon completion of a "rigorous analysis" of the required
                                                                          8   elements of class certification, for good cause shown, the Court
                                                                          9   finds that all the threshold and minimum requirements of Rule 23(a)
                                                                         10   and 23(b)(3) have been met.
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                                                                         11        Therefore, the Court GRANTS the motion for class certification
                                                                         12   as against remaining Defendant Mitsubishi.        DPPs are ORDERED to
                                                                         13   specifically identify the "afilliatte[s]" in the class definition
                                                                         14   (and class notice) to enable the parties and class members to
                                                                         15   better determine who is in the class.       DPPs are also granted
                                                                         16   discretionary leave to amend the underlying complaint within 30
                                                                         17   days of the date of this Order for the single, limited purpose of
                                                                         18   conforming its definition(s) of parties with the description of the
                                                                         19   class as certified in this order.
                                                                         20
                                                                         21        IT IS SO ORDERED.
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                                                                                   Dated: July __, 2015
                                                                         24                                             UNITED STATES DISTRICT JUDGE
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